                Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 1 of 66



                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

                                                                        )
       In re:                                                           )   Chapter 11
                                                                        )
       TAILORED BRANDS, INC., et al.,1                                  )   Case No. 20-33900 (MI)
                                                                        )
                                          Debtors.                      )   (Jointly Administered)
                                                                        )
                              DEBTORS’ FIFTH AMENDED JOINT PLAN OF
                  REORGANIZATION PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


   THIS PLAN IS BEING SUBMITTED FOR APPROVAL BUT HAS NOT BEEN APPROVED BY THE
   BANKRUPTCY COURT. THE INFORMATION IN THE PLAN IS SUBJECT TO CHANGE. THIS PLAN
   IS NOT AN OFFER TO SELL ANY SECURITIES AND IS NOT SOLICITING AN OFFER TO BUY ANY
   SECURITIES.

Matthew D. Cavenaugh (TX Bar No. 24062656)                     Joshua A. Sussberg, P.C. (admitted pro hac vice)
Kristhy Peguero (TX Bar No. 24102776)                          Christopher Marcus, P.C. (admitted pro hac vice)
Veronica A. Polnick (TX Bar No. 24079148)                      Aparna Yenamandra (admitted pro hac vice)
Victoria Argeroplos (TX Bar No. 24105799)                      KIRKLAND & ELLIS LLP
JACKSON WALKER LLP                                             KIRKLAND & ELLIS INTERNATIONAL LLP
1401 McKinney Street, Suite 1900                               300 North LaSalle Street
Houston, Texas 77010                                           Chicago, Illinois 60654
Telephone:       (713) 752-4200                                Telephone:         (312) 862-2000
Facsimile:       (713) 752-4221                                Facsimile:          (312) 862-2200
Email:           mcavenaugh@jw.com                             Email:             joshua.sussberg@kirkland.com
                 kpeguero@jw.com                                                  cmarcus@kirkland.com
                 vpolnick@jw.com                                                  aparna.yenamandra@kirkland.com
                 vargeroplos@jw.com
                                                               -and-
Co-Counsel to the Debtors
and Debtors in Possession                                      James H.M. Sprayregen, P.C.
                                                               KIRKLAND & ELLIS LLP
                                                               KIRKLAND & ELLIS INTERNATIONAL LLP
                                                               601 Lexington Avenue
                                                               New York, New York 10022
                                                               Telephone:      (212) 446-4800
                                                               Facsimile:      (212) 446-4900
                                                               Email:          james.sprayregen@kirkland.com

Dated: November 13, 2020                                       Co-Counsel to the Debtors
                                                               and Debtors in Possession



   1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
          claims and noticing agent at http://cases.primeclerk.com/TailoredBrands. The location of the Debtors’ service
          address in these chapter 11 cases is: 6100 Stevenson Boulevard, Fremont, California 94538.

                                                              i
          Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 2 of 66



                                                             TABLE OF CONTENTS


ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME, AND
              GOVERNING LAW ......................................................................................................................... 1
      A.      Defined Terms. ................................................................................................................................. 1
      B.      Rules of Interpretation. ................................................................................................................... 17
      C.      Computation of Time. ..................................................................................................................... 18
      D.      Governing Law. .............................................................................................................................. 18
      E.      Reference to Monetary Figures. ...................................................................................................... 18
      F.      Reference to the Debtors or the Reorganized Debtors. ................................................................... 18
      G.      Controlling Document. .................................................................................................................... 18
      H.      Consent Rights. ............................................................................................................................... 18

ARTICLE II. ADMINISTRATIVE CLAIMS, DIP ABL FACILITY CLAIMS, PRIORITY CLAIMS,
              AND UNITED STATES TRUSTEE STATUTORY FEES ........................................................... 19
      A.      Administrative Claims. ................................................................................................................... 19
      B.      Professional Fee Claims. ................................................................................................................. 19
      C.      DIP ABL Facility Claims. ............................................................................................................... 20
      D.      Swap Claims. .................................................................................................................................. 21
      E.      Priority Tax Claims. ........................................................................................................................ 21
      F.      United States Trustee Statutory Fees .............................................................................................. 21

ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ..................................... 22
      A.       Classification of Claims and Interests. ............................................................................................ 22
      B.       Treatment of Claims and Interests. ................................................................................................. 22
      C.       Special Provision Governing Unimpaired Claims. ......................................................................... 27
      D.       Elimination of Vacant Classes ........................................................................................................ 27
      E.       Voting Classes, Presumed Acceptance by Non-Voting Classes ..................................................... 27
      F.       Intercompany Interests .................................................................................................................... 27
      G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code. ................. 27
      H.       Controversy Concerning Impairment. ............................................................................................. 28
      I.       Subordinated Claims. ...................................................................................................................... 28

ARTICLE IV. MEANS FOR IMPLEMENTATION OF THE PLAN ........................................................................ 28
      A.     General Settlement of Claims and Interests. ................................................................................... 28
      B.     Restructuring Transactions.............................................................................................................. 28
      C.     The Reorganized Debtors. ............................................................................................................... 29
      D.     Sources of Consideration for Plan Distributions. ............................................................................ 29
      E.     Corporate Existence. ....................................................................................................................... 31
      F.     Vesting of Assets in the Reorganized Debtors. ............................................................................... 31
      G.     Cancellation of Existing Agreements and Interests. ....................................................................... 31
      H.     Corporate Action. ............................................................................................................................ 33
      I.     New Organizational Documents. .................................................................................................... 33
      J.     Directors and Officers of the Reorganized Debtors. ....................................................................... 33
      K.     Effectuating Documents; Further Transactions. .............................................................................. 34
      L.     Certain Securities Law Matters. ...................................................................................................... 34
      M.     Section 1146 Exemption. ................................................................................................................ 34
      N.     Employee Matters. .......................................................................................................................... 35
      O.     Management Incentive Plan. ........................................................................................................... 36
      P.     Long-Term Incentive Plan. ............................................................................................................. 36
      Q.     Change in Control Severance Plans. ............................................................................................... 36
      R.     Preservation of Causes of Action. ................................................................................................... 36
      S.     The Liquidating Trust. .................................................................................................................... 37
      T.     Tax Treatment of the Liquidating Trust and the Cash Option ........................................................ 38
      U.     Closing the Chapter 11 Cases. ........................................................................................................ 39
                                                                 ii
           Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 3 of 66



ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES .............................. 39
      A.     Assumption and Rejection of Executory Contracts and Unexpired Leases. ................................... 39
      B.     Indemnification Obligations............................................................................................................ 40
      C.     Claims Based on Rejection of Executory Contracts or Unexpired Leases. ..................................... 40
      D.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases. .................................. 41
      E.     Modifications, Amendments, Supplements, Restatements, or Other Agreements .......................... 42
      F.     Surety Bonds. .................................................................................................................................. 42
      G.     Insurance Policies. .......................................................................................................................... 42
      H.     Reservation of Rights. ..................................................................................................................... 43
      I.     Nonoccurrence of Effective Date. ................................................................................................... 43
      J.     Contracts and Leases Entered Into After the Petition Date. ............................................................ 43

ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS .............................................................................. 43
      A.      Timing and Calculation of Amounts to Be Distributed................................................................... 43
      B.      Disbursing Agent. ........................................................................................................................... 44
      C.      Rights and Powers of Disbursing Agent. ........................................................................................ 44
      D.      Delivery of Distributions of Liquidating Trust Assets. ................................................................... 44
      E.      Delivery of Distributions and Undeliverable or Unclaimed Distributions. ..................................... 44
      F.      Manner of Payment. ........................................................................................................................ 45
      G.      Compliance with Tax Requirements and Certain Other Tax Matters. ............................................ 46
      H.      Allocations. ..................................................................................................................................... 46
      I.      No Postpetition Interest on Claims.................................................................................................. 46
      J.      Foreign Currency Exchange Rate. .................................................................................................. 46
      K.      Setoffs and Recoupment. ................................................................................................................ 46
      L.      Claims Paid or Payable by Third Parties. ........................................................................................ 47

ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, AND UNLIQUIDATED
              CLAIMS OR INTERESTS ............................................................................................................. 47
      A.      Allowance of Claims. ...................................................................................................................... 47
      B.      Claims Administration Responsibilities. ......................................................................................... 47
      C.      Estimation of Claims. ...................................................................................................................... 48
      D.      Adjustment to Claims or Interests without Objection. .................................................................... 48
      E.      Time to File Objections to Claims. ................................................................................................. 49
      F.      Amendments to Proofs of Claim. .................................................................................................... 49
      G.      Disallowance of Claims or Interests................................................................................................ 49

ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS .............................. 49
      A.       Discharge of Claims and Termination of Interests. ......................................................................... 49
      B.       Release of Liens. ............................................................................................................................ 50
      C.       Releases by the Debtors. ............................................................................................................... 50
      D.       Releases by Holders of Claims and Interests. ............................................................................. 51
      E.       Exculpation. ................................................................................................................................... 51
      F.       Injunction....................................................................................................................................... 52
      G.       Preservation of Setoff Rights .......................................................................................................... 52
      H.       Protections Against Discriminatory Treatment. .............................................................................. 52
      I.       Document Retention. ...................................................................................................................... 53
      J.       Reimbursement or Contribution. ..................................................................................................... 53
      K.       Substantive Consolidation. .............................................................................................................. 53
      L.       Reservation of Rights by the SEC. .................................................................................................. 53

ARTICLE IX. CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN........................................... 53
      A.      Conditions Precedent to the Effective Date. ................................................................................... 53
      B.      Waiver of Conditions. ..................................................................................................................... 54
      C.      Effect of Failure of Conditions. ...................................................................................................... 54

ARTICLE X. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN ....................................... 55
                                         iii
           Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 4 of 66



            A.           Modification and Amendments. ...................................................................................................... 55
            B.           Effect of Confirmation on Modifications. ....................................................................................... 55
            C.           Revocation or Withdrawal of Plan. ................................................................................................. 55

ARTICLE XI. RETENTION OF JURISDICTION ..................................................................................................... 55

ARTICLE XII. MISCELLANEOUS PROVISIONS .................................................................................................. 57
      A.      Immediate Binding Effect. .............................................................................................................. 57
      B.      Additional Documents. ................................................................................................................... 57
      C.      Payment of Statutory Fees. ............................................................................................................. 57
      D.      Statutory Committee and Cessation of Fee and Expense Payment. ................................................ 57
      E.      Trustee Fees. ................................................................................................................................... 58
      F.      Reservation of Rights. ..................................................................................................................... 58
      G.      Successors and Assigns. .................................................................................................................. 58
      H.      Notices. ........................................................................................................................................... 58
      I.      Term of Injunctions or Stays. .......................................................................................................... 60
      J.      Entire Agreement. ........................................................................................................................... 60
      K.      Exhibits. .......................................................................................................................................... 60
      L.      Nonseverability of Plan Provisions. ................................................................................................ 60
      M.      Votes Solicited in Good Faith. ........................................................................................................ 60
      N.      Closing of Chapter 11 Cases. .......................................................................................................... 61
      O.      Waiver or Estoppel.......................................................................................................................... 61




                                                                                 iv
        Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 5 of 66



                                                 INTRODUCTION

         The Debtors propose this Plan for the resolution of the outstanding Claims against and Interests in the Debtors
pursuant to chapter 11 of the Bankruptcy Code. Capitalized terms used herein and not otherwise defined have the
meanings ascribed to such terms in Article I.A of this Plan. Although proposed jointly for administrative purposes,
the Plan constitutes a separate Plan for each Debtor for the resolution of outstanding Claims and Interests pursuant to
the Bankruptcy Code. Holders of Claims against or Interests in the Debtors may refer to the Disclosure Statement for
a discussion of the Debtors’ history, businesses, assets, results of operations, historical financial information, and
projections of future operations, as well as a summary and description of this Plan, the Restructuring Transactions,
and certain related matters. The Debtors are the proponents of the Plan within the meaning of section 1129 of the
Bankruptcy Code.

      ALL HOLDERS OF CLAIMS AGAINST OR INTERESTS IN THE DEBTORS, TO THE EXTENT
APPLICABLE, ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

          1.       “ABL Agent” means JPMorgan Chase Bank, N.A., solely in its capacity as administrative and
collateral agent under the ABL Credit Agreement.

         2.     “ABL Credit Agreement” means that certain Credit Agreement, dated as of June 18, 2014, by and
among The Men’s Wearhouse, Inc., as borrower, each of the guarantors party thereto, the ABL Agent, and the ABL
Lenders, as amended, restated, amended and restated, supplemented or otherwise modified, or replaced from time to
time.

        3.       “ABL Documents” means the ABL Credit Agreement and any other agreements and documents
executed in connection therewith or related thereto.

         4.      “ABL Facility Claim” means any Claim arising under, derived from, secured by, based on, or related
to the ABL Loans and the guarantees in respect thereof under the ABL Credit Agreement or any other ABL Document.

       5.       “ABL Lenders” means those banks, financial institutions, and other lenders party to the ABL Credit
Agreement from time to time.

       6.         “ABL Loans” means those certain loans issued under and on the terms set forth in the ABL Credit
Agreement.

         7.      “Ad Hoc Group” means the Consenting Term Loan Lenders that are members of an ad hoc group
represented by Gibson Dunn.

         8.       “Administrative Claim” means a Claim for costs and expenses of administration of the Estates under
sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary
costs and expenses incurred on or after the Petition Date of preserving the Estates and operating the businesses of the
Debtors; (b) Allowed Professional Fee Claims in the Chapter 11 Cases; and (c) all fees and charges assessed against
the Estates under chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1911-1930.

        9.       “Administrative Claims Bar Date” means the deadline for filing requests for payment of
Administrative Claims, which shall be 45 days after the Effective Date.



                                                           1
        Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 6 of 66



         10.      “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

        11.     “Agents” means any administrative agent, collateral agent, or similar Entity under any of the ABL
Credit Agreement, the Term Loan Credit Agreement, and the DIP Credit Agreement including any successors thereto.

         12.       “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a Claim that
is evidenced by a Proof of Claim Filed by the Claims Bar Date or a request for payment of an Administrative Claim
Filed by the Administrative Claim Bar Date, as applicable (or for which Claim under the Plan, the Bankruptcy Code,
or pursuant to a Final Order, a Proof of Claim or request for payment of Administrative Claim is not or shall not be
required to be Filed); (b) a Claim that is listed in the Schedules as not contingent, not unliquidated, and not disputed,
and for which no Proof of Claim, as applicable, has been timely Filed; or (c) a Claim allowed pursuant to the Plan or
a Final Order of the Bankruptcy Court; provided that, with respect to a Claim described in clauses (a) and (b) above,
such Claim shall be considered Allowed only if and to the extent that with respect to such Claim no objection to the
allowance thereof is interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the
Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and the Claim has been Allowed by
a Final Order. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or disputed,
and for which no Proof of Claim is or has been timely Filed, or that is not or has not been Allowed by a Final Order,
is not considered Allowed and shall be expunged without further action by the Debtors and without further notice to
any party or action, approval, or order of the Bankruptcy Court. Notwithstanding anything to the contrary herein, no
Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such
Entity pays in full the amount that it owes the applicable Debtor or Reorganized Debtor, as applicable. For the
avoidance of doubt, a Proof of Claim Filed after the Claims Bar Date or a request for payment of an Administrative
Claim Filed after the Administrative Claim Bar Date, as applicable, shall not be Allowed for any purposes whatsoever
absent entry of a Final Order allowing such late-Filed Claim. “Allow” and “Allowing” shall have correlative
meanings.

         13.       “Avoidance Actions” means any and all avoidance, recovery, subordination, or other claims, actions,
or remedies which any of the Debtors, the debtors in possession, the Estates, or other appropriate parties in interest
have asserted or may assert under sections 502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or
under similar or related state or federal statutes and common law.

         14.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

         15.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         16.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court.

        17.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

          18.       “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items
in legal tender of the United States of America.

          19.       “Cash Option” means the election available to each Holder of an Allowed Class 5(b) Claim (other
than Holders of Allowed Term Loan Deficiency Claims), on account of such Allowed Class 5(b) Claim and in full
and final satisfaction of such Allowed Class 5(b) Claim, to elect Cash in lieu of such Holder’s Liquidating Trust Equity
Recovery at the Cash Option Price, to be paid by the Reorganized Debtors in accordance with Article IV.S.1. of the
Plan; provided, that the Liquidating Trust shall cancel the New Warrants and redistribute to the Reorganized Debtors
the New Equity attributable to any Holder’s Liquidating Trust Equity Recovery that timely exercises the Cash Option.

           20.      “Cash Option Price” means an amount in Cash equal to $16.94 per share of New Equity; provided,
that, for the avoidance of doubt, the Cash Option Price shall be determined based solely on the number of whole shares
of New Equity such Holder would otherwise be entitled to and no additional distributions shall be made on account
of partial shares of New Equity.
                                                           2
        Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 7 of 66



          21.        “Causes of Action” means any action, claim, cause of action, controversy, demand, right, action,
lien, indemnity, interest, guaranty, suit, obligation, liability, damage, judgment, account, defense, offset, power,
privilege, and license of any kind or character whatsoever, whether known, unknown, contingent or
non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
secured or unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
contract or in tort, in law (whether local, state, or federal U.S. or non-U.S. law) or in equity, or pursuant to any other
theory of local, state, or federal U.S. or non-U.S. law. For the avoidance of doubt, “Cause of Action” includes: (a) any
right of setoff, counterclaim, or recoupment and any Claim for breach of contract or for breach of duties imposed by
law or in equity; (b) any Claim based on or relating to, or in any manner arising from, in whole or in part, tort, breach
of contract, breach of fiduciary duty, fraudulent transfer or fraudulent conveyance or voidable transaction law,
violation of local, state, or federal or non-U.S. law or breach of any duty imposed by law or in equity, including
securities laws, negligence, and gross negligence; (c) any Claim or defense including fraud, mistake, duress, and usury,
and any other defenses set forth in section 558 of title 11 of the United States Code; and (d) any “lender liability”
or equitable subordination claims or defenses.

         22.     “Change in Control Severance Plans” means those certain change in control severance plans to be
adopted by the New Board within 90 days of the Effective Date for certain employees of the Reorganized Debtors,
which terms shall be substantially similar to the change in control severance plans in place immediately prior to the
Effective Date.

          23.       “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference
to all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

           24.    “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the
Debtors.

         25.      “Claims and Noticing Agent” means Prime Clerk LLC, the claims, noticing, and solicitation agent
retained by the Debtors in the Chapter 11 Cases by Bankruptcy Court order.

         26.      “Claims Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim
must be Filed with respect to such Claims, other than Administrative Claims, Claims held by Governmental Units,
ABL Facility Claims, Term Loan Claims, or other Claims or Interests for which the Bankruptcy Court entered an
order excluding the holders of such Claims or Interests from the requirement of Filing Proofs of Claim.

         27.    “Claims Register” means the official register of Claims and Interests in the Debtors maintained by
the Claims and Noticing Agent.

         28.      “Class” means a class of Claims or Interests as set forth in Article III hereof pursuant to
section 1122(a) of the Bankruptcy Code.



          29.      “Class 5(b) Election Form” means that certain Restated Election Form for Holders of Class 5(b)
Other General Unsecured claims to Elect to Receive Either the Liquidating Trust Equity Recovery or the Cash Option,
to be sent to Holders of Class 5(b) Claims for such Holders to elect to receive either the Liquidating Trust Equity
Recovery or the Cash Option; provided, that the Class 5(b) Election Form must be completed, executed, and returned
so as to be actually received by the Claims and Noticing Agent by December 13, 2020 at 4:00 p.m., prevailing Central
Time or the election contained therein may not be considered valid.

           30.    “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

         31.     “Collective Bargaining Agreement” means, as applicable, that certain: (a) Agreement dated as of
April 28, 2019 by and between Debtor Joseph Abboud Manufacturing Corp, Inc. and Unite Here, Local 377 of the
New England Joint Board; (b) Agreement effective March 1, 2020 by and between Debtor The Joseph A. Bank Mfg.
                                                            3
         Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 8 of 66



Co., Inc. and the Mid-Atlantic Regional Joint Board, Workers United, Local 806; and (c) Collective Bargaining
Agreement dated as of July 1, 2020 by and between Debtor Jos. A. Bank Clothiers, Inc. and Local 340, New York
New Jersey Regional Joint Board, Workers United, in each case as the same may have been amended from time to
time.

        32.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

        33.     “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

         34.      “Confirmation Hearing” means the hearing held by the Bankruptcy Court on confirmation of the
Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

         35.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

         36.     “Consenting Term Loan Lender Fees and Expenses” has the meaning ascribed to such term in the
Restructuring Support Agreement.

         37.       “Consenting Term Loan Lenders” means the Holders of Term Loan Claims that are or become party
to the Restructuring Support Agreement.

         38.     “Consummation” means the occurrence of the Effective Date.

         39.     “Creditors Committee” means the Official Committee of Unsecured Creditors in these chapter 11
cases.

         40.      “Cure” means (a) a Claim (unless waived or modified by the applicable counterparty) based upon a
Debtor’s defaults under an Executory Contract or an Unexpired Lease assumed by such Debtor under section 365 of
the Bankruptcy Code, other than a default that is not required to be cured pursuant to section 365(b)(2) of the
Bankruptcy Code and (b) any other obligations required under section 365 of the Bankruptcy Code to cure any
nonmonetary defaults (the performance required to cure such non-monetary defaults and the timing of such
performance will be described in reasonable detail in the notice of proposed assumption and assignment) under any
Executory Contract or Unexpired Lease that is to be assumed or assumed and assigned by the Debtors pursuant to
sections 365 or 1123 of the Bankruptcy Code.

        41.       “Debtors” means, collectively, each of the following: Tailored Brands, JA Apparel Corp., Jos A.
Bank Clothiers, Inc., Joseph Abboud Manufacturing Corp., K&G Men’s Company, Inc., Moores Retail Group Corp.,
Moores The Suit People Corp., MWDC Holding Inc., Nashawena Mills Corp., Renwick Technologies, Inc., Tailored
Brands Gift Card Co LLC, Tailored Brands Purchasing LLC, Tailored Brands Worldwide Purchasing Co., Tailored
Shared Services, LLC, TB UK Holding Limited, The Joseph A. Bank Mfg. Co., Inc., The Men’s Wearhouse, Inc., and
TMW Merchants LLC.

         42.     “Debtor Release” means the release set forth in Article VIII.C of this Plan.

        43.       “Deferred Decision Deadline” means the date agreed upon in writing by the Debtors and the
counterparty to the applicable Deferred Decision Lease.

        44.      “Deferred Decision Lease” means any Unexpired Lease as to which, as of the Effective Date, the
counterparty thereto has consented in writing to the Debtors’ deferral of their decision to assume or reject such
Unexpired Lease until the Deferred Decision Deadline; provided, that, subject to Article V.D of this Plan, each
Deferred Decision Lease shall be identified as assumed or assumed and assigned in the Schedules of Assumed and
Rejected Contracts and shall be automatically assumed or assumed and assigned, as applicable, on the Deferred
                                                         4
        Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 9 of 66



Decision Deadline unless the Debtors or Reorganized Debtors, as applicable, with the consent of the Required
Consenting Term Loan Lenders, amend the Schedules of Assumed and Rejected Contracts to designate such Deferred
Decision Lease as rejected; provided, further, that, for the avoidance of doubt, the procedures and timing for providing
notice and objecting to the proposed assumption, assumption and assignment, and Cure by counterparties to a Deferred
Decision Lease shall be governed by Article V.D of this Plan.

          45.      “Definitive Documentation” means the definitive documents and agreements governing the
Restructuring Transactions (including any related orders, agreements, instruments, schedules, or exhibits) that are
contemplated by and referenced in the Plan (as amended, modified, or supplemented from time to time), including the
following: (a) the Plan (and all exhibits, ballots, solicitation procedures, and other documents and instruments related
thereto); (b) the Definitive Documents (as defined in the Restructuring Support Agreement); (c) the Confirmation
Order; (d) the order of the Bankruptcy Court approving the Disclosure Statement and the other Solicitation Materials;
(e) the Plan Supplement; (f) the DIP/Cash Collateral Orders, the DIP Credit Agreement, and the other DIP documents,
and related documentation; (g) the Exit ABL Facility Documents; (h) the Exit Term Loan Facility Documents; (h) the
New Organizational Documents; and (i) all other material documents necessary or customarily required to
consummate the Restructuring Transactions.

         46.      “Description of Transaction Steps” means the description of the steps to be carried out to effectuate
the Restructuring Transactions in accordance with the Plan and as set forth in the Plan Supplement.

         47.    “DIP ABL Facility” means that certain debtor-in-possession credit facility created under the DIP
Credit Agreement, which includes, pursuant to the Interim DIP/Cash Collateral Order, a roll-up of all obligations
under the ABL Credit Agreement.

         48.      “DIP ABL Facility Claim” means any and all Claims held by any of the DIP Lenders or the DIP
Agent arising under, derived from, or based upon the DIP Credit Agreement, any other agreement, instrument or
document executed at any time in connection therewith, including, without limitation, all Obligations under (and as
defined in) the DIP Credit Agreement Documents or the DIP/Cash Collateral Order.

       49.        “DIP ABL Priority Collateral” shall have the meaning ascribed to such term in the DIP Credit
Agreement.

        50.     “DIP Agent” means JPMorgan Chase Bank, N.A., as administrative and collateral agent under the
DIP Credit Agreement.

          51.      “DIP Credit Agreement” means that certain Senior Secured Super-Priority Debtor-In-Possession
Credit Agreement, dated as of August 4, 2020, by and among the Debtors, the DIP Agent, and the DIP Lenders, as the
same may be amended, restated, supplemented, or otherwise modified from time to time in accordance with the terms
thereof, in each case consistent with the consent rights under the Restructuring Support Agreement and the DIP Credit
Agreement, as applicable.

       52.       “DIP Credit Agreement Documents” means the DIP Credit Agreement and all other agreements,
documents, instruments, and amendments related thereto, including the DIP/Cash Collateral Orders and any guaranty
agreements, pledge and collateral agreements, UCC financing statements or other perfection documents, intercreditor
agreements, subordination agreements, fee letters, commitment letters, and other security agreements.

         53.      “DIP Credit Party” means, individually or collectively, the DIP Agent and/or the DIP Lenders.

       54.        “DIP Lenders” means the banks, financial institutions, and other lenders under the DIP Credit
Agreement.

         55.     “DIP/Cash Collateral Order” means, collectively, the Interim DIP/Cash Collateral Order and the
Final DIP/Cash Collateral Order, which shall be in form and substance acceptable to the Debtors, the DIP Lenders,
and the Required Consenting Term Loan Lenders.

                                                           5
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 10 of 66



        56.       “Disbursing Agent” means, as applicable, the Reorganized Debtors or any Entity the Reorganized
Debtors select to make or to facilitate distributions in accordance with the Plan, which Entity may include the Claims
and Noticing Agent.

         57.      “Disclosure Statement” means the Disclosure Statement Relating to the Debtors’ Fourth Amended
Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code, including all exhibits and schedules
thereto, which shall be in accordance with the Restructuring Support Agreement and the Definitive Documentation,
in form and substance acceptable to the Debtors, the DIP Agent, and the Required Consenting Term Loan Lenders.

         58.     “Disclosure Statement Order” means an order of the Bankruptcy Court approving the Disclosure
Statement, the Solicitation Materials, and the solicitation of the Plan, which shall be in accordance with the
Restructuring Support Agreement and the Definitive Documentation, in form and substance acceptable to the Debtors,
the DIP Agent, and the Required Consenting Term Loan Lenders.

          59.       “Disputed” means, as to a Claim or an Interest, a Claim or an Interest: (a) that is not Allowed;
(b) that is not disallowed under the Plan, the Bankruptcy Code, or a Final Order, as applicable; and (c) with respect to
which a party in interest has Filed a Proof of Claim or otherwise made a written request to a Debtor for payment,
without any further notice to or action, order, or approval of the Bankruptcy Court.

         60.      “Distribution Record Date” means, other than with respect to publicly held securities, the record
date for purposes of making distributions under the Plan on account of Allowed Claims, which date shall be the first
day of the Confirmation Hearing.

         61.      “DTC” means the Depository Trust Company.

          62.      “Effective Date” means the date that is the first Business Day after the Confirmation Date on which
(a) no stay of the Confirmation Order is in effect and (b) all conditions precedent to the occurrence of the Effective
Date set forth in Article IX.A of the Plan have been satisfied or waived in accordance with Article IX.B of the Plan.
Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

        63.       “Employment Obligations” means any existing obligations to employees to be assumed, reinstated,
or honored, as applicable, in accordance with Article IV.N of the Plan.

         64.      “Entity” means any entity, as defined in section 101(15) of the Bankruptcy Code.

         65.      “Equity Security” means any equity security, as defined in section 101(16) of the Bankruptcy Code.

        66.      “ERISA” means Title IV of the Employee Retirement Income Security Act of 1974, as amended,
29 U.S.C. §§ 1301-1461.

         67.       “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code.

         68.       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Debtors
and the Reorganized Debtors; (b) any official committees appointed in the Chapter 11 Cases and each of their
respective members; (c) each Consenting Term Loan Lender; (d) each member of the Ad Hoc Group; (e) the Term
Loan Agent; (f) the Trustee; and (g) with respect to each of the foregoing entities, each such Entity’s current and
former predecessors, successors, Affiliates (regardless of whether such interests are held directly or indirectly),
subsidiaries, direct and indirect equity holders, funds, portfolio companies, management companies, consultants,
financial advisors, and attorneys (each in their capacity as such).

         69.     “Executory Contract” means a contract to which one or more of the Debtors are a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.



                                                           6
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 11 of 66



         70.      “Existing Equity Interests” means any Equity Security, including all issued, unissued, authorized,
or outstanding shares of capital stock and any other common stock, preferred stock, limited liability company interests,
and any other equity, ownership, or profit interests of Tailored Brands, including all options, warrants, rights, stock
appreciation rights, phantom stock rights, restricted stock units, redemption rights, repurchase rights, convertible,
exercisable, or exchangeable securities, or other agreements, arrangements, or commitments of any character relating
to, or whose value is related to, any such interest or other ownership interest in Tailored Brands, whether or not arising
under or in connection with any employment agreement and whether or not certificated, transferable, preferred,
common, voting, or denominated “stock” or a similar security.

          71.      “Exit ABL Facility” means either (a) a new asset-based exit financing facility with aggregate total
commitments of $430 million, which shall be on terms reasonably acceptable to the Debtors, the ABL Agent, and the
Required Consenting Term Loan Lenders, and to be entered into on the Effective Date on the terms and conditions set
forth in the Exit ABL Facility Documents and the Restructuring Support Agreement or (b) such other asset-based exit
financing facility with terms reasonably acceptable to the Debtors, the ABL Agent, and the Required Consenting Term
Loan Lenders to be entered into on the Effective Date.

        72.      “Exit ABL Facility Agent” means JPMorgan Chase Bank, N.A., as administrative and collateral
agent under the Exit ABL Facility Credit Agreement.

        73.       “Exit ABL Facility Credit Agreement” means the credit agreement governing the Exit ABL Facility,
which shall be on terms reasonably acceptable to the Debtors, the DIP Agent, and the Required Consenting Term Loan
Lenders and which shall become effective on the Effective Date.

         74.       “Exit ABL Facility Documents” means the agreements memorializing the Exit ABL Facility,
including the Exit ABL Facility Credit Agreement and any amendments, modifications, supplements thereto, and
together with any related notes, certificates, agreements, intercreditor agreements, security agreements, mortgages,
deeds of trust, documents, and instruments (including any amendments, restatements, supplements, or modifications
of any of the foregoing) related to or executed in connection with the Exit ABL Facility.

         75.      “Exit ABL Facility Lenders” means those lenders party to the Exit ABL Facility Credit Agreement.

          76.      “Exit Facilities” means the Exit ABL Facility and the Exit Term Loan Facility; provided, that the
collateral securing the Exit Facilities shall not include the Debtors’ real property leases (but may include all proceeds
of such leases).

          77.      “Exit New Money Term Loan Facility” means a new senior secured, first lien term loan facility that
is senior to the Exit Takeback Term Loan Facility, in the aggregate principal amount of $75 million, which will be
funded and entered into on the Effective Date on the terms and conditions set forth in the Exit Term Loan Facility
Documents, which shall be on terms reasonably acceptable to the Debtors and the Required Consenting Term Loan
Lenders.

       78.       “Exit New Money Term Loan Equity Backstop Fee” means the fee set forth in the Exit New Money
Term Loan Facility Term Sheet under the heading “Backstop” to the extent payable in New Equity as set forth therein.

         79.      “Exit New Money Term Loan Facility Term Sheet” means the New Liquidity Facility Term Sheet
attached as Exhibit I to the Plan Supplement.

          80.      “Exit Takeback Term Loan Facility” means a new senior secured, first lien term loan facility in the
aggregate principal amount of $365 million to be entered into on the Effective Date on the terms and conditions set
forth in the Exit Term Loan Facility Documents, which shall be on terms reasonably acceptable to the Debtors and
the Required Consenting Term Loan Lenders.

       81.       “Exit Term Loan Facility” means the Exit New Money Term Loan Facility and the Exit Takeback
Term Loan Facility.

                                                            7
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 12 of 66



        82.    “Exit Term Loan Facility Agents” means a financial institution acceptable to the Required
Consenting Term Loan Lenders, as administrative and collateral agents under the Exit Term Loan Facility Credit
Agreements.

         83.     “Exit Term Loan Facility Credit Agreements” means the credit agreements governing the Exit Term
Loan Facility, which shall (i) with respect to the Exit Takeback Term Loan Facility, be on the terms set forth in the
Exit Takeback Term Loan Facility Term Sheet and otherwise in accordance with the Restructuring Support
Agreement, on terms acceptable to the Super-Majority Consenting Term Loan Lenders, (ii) with respect to the Exit
New Money Term Loan Facility, be on terms set forth in the Exit New Money Term Loan Facility Term Sheet and
otherwise on terms acceptable to the Required Consenting Term Loan Lenders, and (iii) become effective on the
Effective Date.

          84.      “Exit Term Loan Facility Documents” means the agreements memorializing the Exit Term Loan
Facility, including the Exit Term Loan Facility Credit Agreements and any amendments, modifications, supplements
thereto, and together with any related notes, certificates, agreements, intercreditor agreements, security agreements,
mortgages, deeds of trust, documents, and instruments (including any amendments, restatements, supplements, or
modifications of any of the foregoing) related to or executed in connection with the Exit Term Loan Facility.

       85.        “Exit Term Loan Facility Lenders” means those lenders party to the Exit Term Loan Facility Credit
Agreements.

         86.      “Exit Takeback Term Loan Facility Term Sheet” means the Exit Term Loan Facility Term Sheet
attached as Exhibit E to the Plan Supplement.

         87.      “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        88.      “File” means file, filed, or filing with the Bankruptcy Court or its authorized designee in the
Chapter 11 Cases. “Filed” and “Filing” shall have correlative meanings.

         89.     “Final DIP/Cash Collateral Order” means the Final Order (I) Authorizing the Debtors to Obtain
Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing
Superpriority Administrative Expense Status, (IV) Granting Adequate Protection to the Prepetition Secured Parties,
(V) Modifying the Automatic Stay, and (VI) Granting Related Relief [Docket No. 512], which shall be in form and
substance acceptable to the Debtors, the DIP Lenders, and the Required Consenting Term Loan Lenders.

          90.      “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court of
competent jurisdiction with respect to the relevant subject matter that has not been reversed, stayed, modified, or
amended, and as to which the time to appeal or seek certiorari has expired and no appeal or petition for certiorari has
been timely taken, or as to which any appeal that has been taken or any petition for certiorari that has been or may be
filed has been resolved by the highest court to which the order or judgment could be appealed or from which certiorari
could be sought or the new trial, reargument, or rehearing shall have been denied, resulted in no modification of such
order, or has otherwise been dismissed with prejudice.

        91.      “General Unsecured Claim” means any Claim other than a DIP ABL Facility Claim, Administrative
Claim, Priority Tax Claim, Other Secured Claim, Other Priority Claim, Term Loan Secured Claim, ABL Facility
Claim, Swap Claim, Intercompany Claim, or Section 510(b) Claim.

         92.      “Gibson Dunn” means Gibson, Dunn & Crutcher LLP, counsel to the Ad Hoc Group.

         93.      “Governing Body” means the board of directors, board of managers, manager, general partner,
investment committee, special committee, or such similar governing body of any of the Debtors or the Reorganized
Debtors, as applicable.

        94.     “Governmental Unit” means any governmental unit, as defined in section 101(27) of the
Bankruptcy Code.
                                                          8
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 13 of 66



         95.      “GUC Convenience Claim” means any General Unsecured Claim in an Allowed amount greater
than $0.01 but less than or equal to $500; provided that any Holder of an Allowed General Unsecured Claim other
than an Unsecured Notes Claim or a Term Loan Deficiency Claim may elect to have such Claims reduced to $500 and
treated as an Allowed GUC Convenience Claim for purposes of the Plan.

         96.      “Holder” means an Entity holding a Claim or Interest.

         97.      “Houlihan” means Houlihan Lokey Capital, Inc., financial advisor to the Ad Hoc Group.

         98.      “Impaired” means “impaired” within the meaning of section 1124 of the Bankruptcy Code.

         99.       “Indemnification Provisions” means each of the Debtors’ indemnification provisions currently in
place, whether in the Debtors’ bylaws, certificates of incorporation, other formation documents, board resolutions, or
contracts for the current and former directors, officers, managers, employees, attorneys, other professionals, and agents
of the Debtors and such current and former directors’, officers’, and managers’ respective Affiliates.

        100.      “Insurance Policies” means all insurance policies that have been issued at any time that provide
coverage, benefits, or proceeds to any of the Debtors (or their predecessors) and all agreements, documents, or
instruments relating thereto.

          101.      “Insurer” means any company or other Entity that issued an Insurance Policy, any third party
administrator of or for any Insurance Policy or self-insured claims, and any respective predecessors, successors, and/or
affiliates of any of the foregoing.

         102.      “Intercompany Claims” means any Claim against a Debtor that is held by another Debtor or a direct
or indirect subsidiary of a Debtor, excluding, for the avoidance of doubt, the WPC-Moores Claim and the TMW-WPC
Claims (neither of which shall receive a distribution under the Plan).

        103.     “Intercompany Interests” means an Interest in a Debtor held by another Debtor and, for the
avoidance of doubt, excludes the Existing Equity Interests.

           104.    “Interest” means, collectively, (a) any Equity Security, or any other equity or ownership interest
(including any such interest in a partnership, limited liability company, or other Entity), in any Debtor, (b) any other
rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units, redemption rights,
repurchase rights, convertible, exercisable or exchangeable securities or other agreements, arrangements or
commitments of any character relating to, or whose value is related to, any such interest or other ownership interest
in any Debtor, and (c) any and all Claims that are otherwise determined by the Bankruptcy Court to be an equity
interest, including any Claim or debt that is recharacterized as an equity interest or subject to subornation as an equity
interest pursuant to section 510(b) of the Bankruptcy Code.

         105.    “Interim DIP/Cash Collateral Order” means the Interim Order (I) Authorizing the Debtors to
Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and
Providing Superpriority Administrative Expense Status, (IV) Granting Adequate Protection to the Prepetition Secured
Parties, (V) Modifying the Automatic Stay, (VI) Scheduling A Final Hearing, and (VII) Granting Related Relief
[Docket No. 85], which was in form and substance acceptable to the Debtors, the DIP Lenders, and the Required
Consenting Term Loan Lenders.

         106.     “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

         107.      “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

         108.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        109.     “Liquidating Trust” means a trust established to hold and distribute the Liquidating Trust Assets in
accordance with the Liquidating Trust Agreement, the Plan, and the Confirmation Order.
                                                            9
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 14 of 66



          110.     “Liquidating Trustee” means Mohsin Meghji of M-III Partners, L.P., who shall be designated in the
Liquidating Trust Agreement to administer the Liquidating Trust, or any successor thereto, and, solely to the extent
that the Liquidating Trust Holds at least 5% of the then outstanding shares of New Equity (calculated on a fully diluted
basis), shall be an observer on the New Board, subject to the terms of the New Organizational Documents.

          111.    “Liquidating Trust Agreement” means the liquidating trust agreement governing the Liquidating
Trust and Liquidating Trust Assets, which shall be prepared by the Creditors Committee and Filed as an amendment
to the Plan Supplement.

         112.     “Liquidating Trust Assets” means (a) the Liquidating Trustee Fee Amount, (b) the Liquidating Trust
Equity, and (c) the New Warrants.

       113.   “Liquidating Trust Equity” means 7.5% of the New Equity (subject to dilution by the Exit New
Money Term Loan Equity Backstop Fee, the Management Incentive Plan, and the New Warrants).

         114.     “Liquidating Trust Equity Recovery” means, as to each Holder of an Allowed Class 5(b) Claim, the
value associated with (a) its Pro Rata share of either the WPC Equity Recovery Pool or the U.S. Equity Recovery
Pool, as applicable, and (b) a Pro Rata share of the New Warrants, in each case with such value to be distributed in
accordance with the terms of the Liquidating Trust Agreement; provided, that, for the avoidance of doubt, any Holder
of an Allowed Class 5(b) Claim that elects the Cash Option shall not receive any portion of the value associated with
the WPC Equity Recovery Pool, the U.S. Equity Recovery Pool, or the New Warrants.

         115.     “Liquidating Trustee Fee Amount” means $1,000,000 in Cash, which amount shall be used for the
sole purpose of paying the Liquidating Trustee Fees in accordance with Article IV.S of this Plan.

        116.     “Liquidating Trustee Fees” means, collectively, all outstanding, reasonable, and documented
compensation, fees, and expenses of the Liquidating Trustee and the professionals hired by the Liquidating Trustee,
if any.

         117.     “Long-Term Incentive Plans” means those certain long-term incentive plans to be adopted by the
New Board within 90 days of the Effective Date for certain employees of the Reorganized Debtors, the structure and
terms of which shall be determined by the New Board.

          118.     “Management Incentive Plan” means that certain management incentive plan of Reorganized
Tailored, which management incentive plan (including any and all awards to be granted thereunder) shall reserve for
officers and directors of Reorganized Tailored 7.5% of New Equity on a fully diluted basis with structure and grants
to be determined by the New Board.

        119.      “Moores Debtors” means, collectively, Debtors Moores Retail Group Corp. and Moores The Suit
People Corp.

        120.    “Moores General Unsecured Claims” means any General Unsecured Claim against one or more of
the Moores Debtors other than a GUC Convenience Claim.

         121.      “New Board” means the board of directors or the board of managers of Reorganized Tailored (or
such other body that will become the ultimate governing authority for Reorganized Tailored); provided that the process
for selecting the New Board and all governance related matters for Reorganized Tailored shall be in form and
substance acceptable to the Required Consenting Term Loan Lenders (in consultation with the Debtors).

          122.    “New Equity” means the common equity interests in Reorganized Tailored to be (consistent with
the Description of Transaction Steps) authorized, issued, or reserved on the Effective Date pursuant to the Plan, which
shall be governed by the Shareholder Agreement and the other New Equity Documentation.

          123.    “New Equity Documentation” means any and all documentation required to implement, issue, and
distribute the New Equity including the Shareholder Agreement.
                                                          10
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 15 of 66



         124.     “New Equity Holders” means Holders of Claims entitled to receive New Equity under Article III of
the Plan and the participants in the Management Incentive Plan.

          125.     “New Organizational Documents” means the documents providing for corporate governance of the
Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational or formation
documents or shareholders’ agreements, as applicable, consistent with the Restructuring Support Agreement and
section 1123(a)(6) of the Bankruptcy Code, as applicable and, in each case, in form and substance acceptable to the
Required Consenting Term Loan Lenders (in consultation with the Debtors); provided that the treatment of the
Liquidating Trust under the shareholders’ agreement shall be consistent with the treatment of other minority
shareholders under the shareholders agreement. Substantially final forms of the New Organizational Documents shall
be Filed as part of the Plan Supplement prior to the date upon which the Bankruptcy Court enters an order confirming
the Plan.

         126.      “New Warrants” means warrants exercisable for cash, at par plus accrued through the Effective Date
(the “Strike Price”) for 8% of the New Equity with a three year term and 18 months of Black-Scholes protection;
provided, however, upon an initial public offering, sale of substantially all of the assets of the Reorganized Debtors or
other liquidity event as set forth in the New Warrant Agreement, no exercise shall be required, and the Liquidating
Trust shall receive 8% (or a reduced percentage, to the extent such warrants have previously been cancelled in
accordance with the terms of the Plan) of the excess value over the Strike Price.

         127.    “New Warrant Agreement” means that certain agreement providing for, among other things, the
issuance and terms of the New Warrants, the final version of which shall be Filed as an amendment to the Plan
Supplement after the Confirmation Hearing, the form and substance of which shall be reasonably acceptable to the
Debtors, the Required Consenting Term Loan Lenders, and the Creditors Committee; provided, that the Debtors, the
Ad Hoc Group, and the Creditors Committee shall negotiate in good faith regarding the terms of the New Warrant
Agreement; provided, further, that any disputes regarding the terms of the New Warrant Agreement shall be
determined by the Honorable David R. Jones.

          128.      “Other General Unsecured Claims” means any General Unsecured Claims against a Debtor other
than a Moores General Unsecured Claim or GUC Convenience Claim, and including, for the avoidance of doubt, any
General Unsecured Claims against Debtor WPC; provided, that the Term Loan Deficiency Claim shall be deemed
waived, extinguished, satisfied, released, and discharged for all purposes on the Effective Date as set forth in Article
III.B.6 of this Plan.

        129.       “Other Priority Claims” means any Claim, other than an Administrative Claim or a Priority Tax
Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         130.     “Other Secured Claims” means any Secured Claim against the Debtors other than an ABL Facility
Claim, Term Loan Secured Claim, or a DIP ABL Facility Claim, including any Secured Tax Claim or any Claim
arising under, derived from, or based upon any letter of credit issued in favor of one or more Debtors, the
reimbursement obligation for which is either secured by a Lien on collateral or is subject to a valid right of setoff
pursuant to section 553 of the Bankruptcy Code.

          131.      “Paid in Full” means, respectively, the indefeasible repayment in full in cash of all obligations
(including principal, interest, fees, expenses, indemnities, other than contingent indemnification obligations for which
no claim has been asserted) under the applicable credit facility, the cash collateralization of all treasury and cash
management obligations, hedging obligations, and bank product obligations, and the cancelation, replacement,
backing, or cash collateralization of letters of credit, in each case, in accordance with the terms of the applicable credit
facility. No facility shall be deemed to have been Paid in Full until such time as, with respect to the applicable facility,
(a) the commitments to lend thereunder have been terminated, (b) with respect to the Challenge Deadline (i) the
Challenge Deadline (as defined in paragraph 50(a) of the Final DIP/Cash Collateral Order, as applicable) shall have
occurred without the timely and proper commencement of a Challenge or (ii) if a Challenge is timely and properly
asserted prior to the Challenge Deadline, upon the final, non-appealable disposition of such Challenge; and (c) with
respect to the Prepetition ABL Obligations (as defined in the Final DIP/Cash Collateral Order), the ABL Agent or the


                                                            11
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 16 of 66



DIP ABL Agent, as applicable, has received (i) a countersigned payoff letter in form and substance satisfactory to
such Agent and (ii) releases in form and substance satisfactory to such Agent, each in its sole discretion.

         132.      “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         133.     “PBGC” means the Pension Benefit Guaranty Corporation.

         134.     “Pension Plan” means The Joseph A. Bank Mfg. Co., Inc. Defined Benefit Pension Plan.

         135.     “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

        136.     “Plan” means this Debtors’ Fifth Amended Joint Plan of Reorganization Pursuant to Chapter 11 of
the Bankruptcy Code, including the Plan Supplement, which is incorporated herein by reference, each of which may
be amended, modified, or supplemented from time to time prior to entry of the Confirmation Order, and shall be in
accordance with the terms of the Restructuring Support Agreement and the Definitive Documentation, in form and
substance acceptable to the Required Consenting Term Loan Lenders.

          137.      “Plan Distribution” means a payment or distribution to Holders of Allowed Claims, Allowed
Interests, or other eligible Entities under and in accordance with the Plan.

          138.     “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to
be Filed by the Debtors, to the extent reasonably practicable, no later than fourteen (14) days before the Confirmation
Hearing or such later date as may be approved by the Bankruptcy Court on notice to parties in interest and which shall
be in form and substance acceptable to the Required Consenting Term Loan Lenders (and, with respect to the Exit
Takeback Term Loan Facility, the Super-Majority Consenting Term Loan Lenders, and, with respect to the Exit ABL
Facility Documents, the DIP Agent), including the following: (a) the New Organizational Documents; (b) the identity
and members of the New Board and any executive management for the Reorganized Debtors; (c) the Schedule of
Retained Causes of Action; (d) the Exit ABL Facility Documents; (e) the Exit Term Loan Facility Documents; (f) the
Description of Transaction Steps; (g) the Schedules of Assumed and Rejected Contracts; (h) the aggregate amount of
New Equity on a fully diluted basis reserved for the Management Incentive Plan; (i) the New Warrant Agreement;
(j) the Liquidating Trust Agreement; and (k) any additional documents Filed with the Bankruptcy Court prior to the
Effective Date as amendments to the Plan Supplement.

         139.     “Prepetition Secured Parties” shall have the meaning ascribed to such term in the DIP/Cash
Collateral Order.

         140.     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

          141.    “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class.

         142.     “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on
the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

          143.      “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and other
unpaid fees and expenses of Professionals estimate they have incurred or will incur in rendering services to the Debtors
as set forth in Article II.B of the Plan.




                                                          12
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 17 of 66



        144.    “Professional Fee Claim” means a Claim by a Professional seeking an award by the Bankruptcy
Court of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

        145.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors with
Cash on the Effective Date in an amount equal to the Professional Fee Amount.

         146.    “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases
by the Claims Bar Date or the Administrative Claims Bar Date, as applicable.

         147.    “Reinstate” means reinstate, reinstated, or reinstatement with respect to Claims and Interests, that
the Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.
“Reinstated” and “Reinstatement” shall have correlative meanings.

          148.     “Released Party” means each of, and in each case in its capacity as such: (a) the Debtors and the
Reorganized Debtors; (b) the Term Loan Lenders; (c) the Term Loan Agent, (d) the ABL Lenders; (e) the ABL Agent;
(f) the DIP ABL Lenders; (g) the DIP ABL Agent; (h) the Exit ABL Facility Agent; (i) the Exit ABL Facility Lenders;
(j) the Exit Term Loan Facility Agents; (k) the Exit Term Loan Facility Lenders; (l) the Trustee; (m) with respect to
each of the foregoing entities, each such Entity’s current and former predecessors, successors, Affiliates (regardless
of whether such interests are held directly or indirectly), subsidiaries, direct and indirect equity holders, funds,
portfolio companies, management companies; and (n) with respect to each of the foregoing Entities in clauses
(a) through (m), each of their respective current and former directors, officers, members, employees, partners,
managers, independent contractors, agents, representatives, principals, professionals, consultants, financial advisors,
attorneys, accountants, investment bankers, and other professional advisors (with respect to clause (m), each solely in
their capacity as such); provided, however, that in each case, an Entity or a Holder of a Claim or Interest shall not be
a Released Party if it: (i) elects to opt out of the releases contained in the Plan or (ii) timely Files with the Bankruptcy
Court on the docket of the Chapter 11 Cases an objection to the releases contained in the Plan that is not resolved
before Confirmation.

          149.      “Releasing Party” means each of, and in each case in its capacity as such: (a) the Debtors and the
Reorganized Debtors; (b) the Term Loan Lenders; (c) the Term Loan Agent, (d) the ABL Lenders; (e) the ABL Agent;
(f) the DIP ABL Lenders; (g) the DIP ABL Agent; (h) the Exit ABL Facility Agent; (i) the Exit ABL Facility Lenders;
(j) the Exit Term Loan Facility Agents; (k) the Exit Term Loan Facility Lenders; (l) the Trustee; (m) with respect to
each of the foregoing entities, each such Entity’s current and former predecessors, successors, Affiliates (regardless
of whether such interests are held directly or indirectly), subsidiaries, direct and indirect equity holders, funds,
portfolio companies, management companies; (n) with respect to each of the foregoing Entities in clauses (a) through
(m), each of their respective current and former directors, officers, members, employees, partners, managers,
independent contractors, agents, representatives, principals, professionals, consultants, financial advisors, attorneys,
accountants, investment bankers, and other professional advisors (with respect to clause (m), each solely in their
capacity as such); and (o) all Holders of Claims and Interests not described in the foregoing clauses (a) through (n);
provided, however, that in each case, an Entity or a Holder of a Claim or Interest shall not be a Releasing Party if it:
(i) elects to opt out of the releases contained in the Plan or (ii) timely Files with the Bankruptcy Court on the docket
of the Chapter 11 Cases an objection to the releases contained in the Plan that is not resolved before Confirmation.
For the avoidance of doubt, parties listed in subsection (o) of this paragraph are not “Released Parties” and therefore
are not entitled to the benefit of the releases set forth in this Plan.

        150.       “Reorganized Debtors” means, collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date. For purposes of this Plan, Reorganized Tailored shall be
a Reorganized Debtor.

         151.     “Reorganized Tailored” means either: (a) Tailored Brands, as reorganized pursuant to and under
the Plan, or any successor or assign thereto, by merger, amalgamation, consolidation, or otherwise, on or after the
Effective Date; or (b) to the extent agreed upon by the Debtors and the Required Consenting Term Loan Lenders
(such consent not to be unreasonably withheld, conditioned, or delayed), a new corporation or limited liability


                                                            13
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 18 of 66



company that may be formed to, among other things, directly or indirectly acquire substantially all of the assets and/or
stock of the Debtors and issue the New Equity and New Warrants to be distributed pursuant to the Plan.

        152.    “Required Consenting Term Loan Lenders” means, as of the relevant date, one or more Consenting
Term Loan Lenders that individually or collectively hold more than 50% of the aggregate outstanding principal
amount of Term Loans that are held by all Consenting Term Loan Lenders.

         153.      “Restructuring Expenses” means the reasonable and documented fees and expenses accrued since
the inception of their respective engagements related to the implementation of the Restructuring Transactions and not
previously paid by, or on behalf of, the Debtors of: (a) (i) Gibson Dunn & Crutcher LLP, as counsel to the Ad Hoc
Group, (ii) any local counsel to the Ad Hoc Group, and (iii) Houlihan & Lokey, as financial advisor to Gibson Dunn
& Crutcher LLP in connection with its representation of the Ad Hoc Group; and (b) any consultants or other
professionals retained by the Ad Hoc Group in connection with the Debtors or the Restructuring Transactions with
the consent of the Debtors (not to be unreasonably withheld), in each case, in accordance with the engagement letters
of such consultant or professional signed by the Debtors, including, without limitation, any success, back end, or
restructuring fees contemplated therein (which such fees are deemed reasonable hereunder), and in each case, without
further order of, or application to, the Bankruptcy Court by such consultant or professionals.

         154.    “Restructuring Support Agreement” means that certain Restructuring Support Agreement, dated as
of August 2, 2020, by and among the Debtors and the other parties thereto, as may be amended, modified, or
supplemented from time to time, in accordance with its terms. In the event the Restructuring Support Agreement is
terminated, any reference herein to the Restructuring Support Agreement shall mean the Restructuring Support
Agreement as in effect immediately prior to such termination and any reference to any party to the Restructuring
Support Agreement shall mean the parties to the Restructuring Support Agreement immediately prior to such
termination.

         155.     “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

         156.     “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time by the Debtors with the reasonable consent of the Required Consenting Term Loan
Lenders.

          157.    “Schedules” means, collectively, the schedules of assets and liabilities, Schedule of Retained Causes
of Action, and statement of financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy Code, the
official bankruptcy forms, and the Bankruptcy Rules, as they may be amended, modified, or supplemented from time
to time.

        158.    “Schedules of Assumed and Rejected Contracts” means the schedules of certain Executory Contracts
and Unexpired Leases to be assumed, assumed and assigned, or rejected by the Debtors pursuant to the Plan, as the
same may be amended, modified, or supplemented from time to time by the Debtors with the consent of the Required
Consenting Term Loan Lenders.

          159.      “Secured Claim” means a Claim: (a) secured by a valid, perfected and enforceable Lien on collateral
to the extent of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code
or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

          160.     “Secured Tax Claim” means any Secured Claim that, absent its secured status, would be entitled to
priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined irrespective of time
limitations), including any related Secured Claim for penalties.

         161.      “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any
similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.


                                                          14
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 19 of 66



         162.     “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

         163.     “SEC” means the United States Securities and Exchange Commission.

        164.      “Shareholder Agreement” means a shareholder agreement governing the New Equity, in form and
substance acceptable to the Required Consenting Term Loan Lenders.

          165.    “Solicitation Materials” means the Disclosure Statement and related documentation to be
distributed to Holders of Claims entitled to vote on the Plan, which shall be in accordance with the Restructuring
Support Agreement and the Definitive Documentation, in form and substance acceptable to the Debtors, the
DIP Agent, and the Required Consenting Term Loan Lenders.

         166.     “Steering Committee” means the steering committee of the Ad Hoc Group.

         167.    “Super-Majority Consenting Term Loan Lenders” means, as of the relevant date, one or more
Consenting Term Loan Lenders that individually or collectively hold at least two-thirds of the aggregate outstanding
principal amount of Term Loans that are held by all Consenting Term Loan Lenders.

         168.     “Surviving DIP Obligations” means (1) all expenses, indemnities, and other obligations under the
DIP ABL Agreement that by their terms survive repayment and termination of the commitments thereunder; (2) all
reimbursement obligations in respect of letters of credit and letter of credit fees, all bank product obligations, hedging
obligations, and cash management obligations and all collateral security provided for the foregoing; and (3) those
obligations for which arrangements have been made in connection with repayment and termination of the
commitments under the DIP ABL Facility.

      169.      “Swap Claims” means those Secured Claims arising under or in connection with the ABL
Documents with respect to terminated interest rate swaps.

         170.     “Tailored Brands” means Tailored Brands, Inc., a company incorporated under the Laws of Texas.

         171.     “Term Loan Agent” means Wilmington Savings Fund Society, FSB, in its capacity as successor
administrative agent and collateral agent under the Term Loan Credit Agreement.

         172.   “Term Loan Claim” means any Claim arising under, derived from, secured by, based on, or related
to the Term Loans and the guarantees in respect thereof, or any other Claims arising under the Term Loan Credit
Agreement or any other Term Loan Document.

         173.    “Term Loan Credit Agreement” means that certain credit agreement, dated as of June 18, 2014, by
and among The Men’s Wearhouse, Inc., as borrower, each of the other guarantors party thereto, the Term Loan Agent,
and the Term Loan Lenders, as amended, restated, amended and restated, supplemented or otherwise modified, or
replaced from time to time.

        174.      “Term Loan Deficiency Claim” means any portion of a Term Loan Claim constituting an unsecured
claim under section 506(a) of the Bankruptcy Code.

       175.      “Term Loan Documents” means the Term Loan Credit Agreement and any other agreements and
documents executed in connection therewith or related thereto.

        176.    “Term Loan Lenders” means those banks, financial institutions, and other lenders party to the Term
Loan Credit Agreement from time to time.

         177.     “Term Loan Secured Claim” means any Term Loan Claim that is a Secured Claim.

       178.       “Term Loan Priority Collateral” shall have the meaning ascribed to such term in the DIP Credit
Agreement.
                                                           15
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 20 of 66



        179.    “Term Loans” means those certain term loans issued under and on the terms set forth in the Term
Loan Credit Agreement.

        180.     “TMW-WPC Claims” means any General Unsecured Claim held by the Men’s Wearhouse Inc.
against WPC, which shall be treated, for the avoidance of doubt, as a Class 5(b) Claim, but shall not receive any
recovery under the Plan.

         181.      “True-Up Parties” means authorized representatives of the Debtors or Reorganized Debtors (as
applicable), the Liquidating Trustee, and the Ad Hoc Group.

          182.     “True-Up Procedures” means the following agreed procedures as among the True-Up Parties: (i)
the True-Up Parties agree to meet and confer no later than 30 calendar days following the Effective Date to determine,
in good faith, whether sufficient Class 5(b) Claims have been reconciled (or can be efficiently reconciled) so as to
permit a distribution of Cash to satisfy the Cash Option of some or all of the Holders of Allowed Class 5(b) Claims in
the immediate future; (ii) in the event that the True-Up Parties, acting in good faith, determine that a distribution of
Cash to satisfy the Cash Option of some or all of the Holders of Allowed Class 5(b) Claims in the immediate future is
feasible, then in such instance the Reorganized Debtors will schedule and consummate such distribution of Cash, and
the Liquidating Trust shall (contemporaneously therewith) cancel the New Warrants associated with the Class 5(b)
Claims so satisfied, and redistribute to the Reorganized Debtors the New Equity associated with the Class 5(b) Claims
so satisfied; and (iii) whether or not a distribution set forth in subsection (ii) above is consummated, the True-Up
Parties agree to meet and confer, in good faith, approximately every 120 days to perform the analysis set forth in
subsection (i) above.

          183.      “Trustee” means The Bank of New York Mellon Trust Company, N.A. (or any successor thereto),
in its capacity as trustee under the Unsecured Notes Indenture.

         184.     “Trustee Fees” means, collectively, all outstanding, reasonable, and documented compensation,
fees, and expenses, whether incurred prior to or after the Effective Date, of (a) the Trustee, (b) counsel to the Trustee,
and (c) any other advisors to the Trustee, in each case solely to the extent provided for under the Unsecured Notes
Indenture.

        185.      “Unexpired Lease” means a lease to which one or more of the Debtors are a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

          186.    “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         187.     “Union” means, as applicable, each of (a) Unite Here, Local 377 of the New England Joint Board,
(b) Mid-Atlantic Regional Joint Board, Workers United, Local 806, and (c) Local 340, New York New Jersey Regional
Joint Board, Workers United.

          188.   “United States Debtors” means, collectively, each of the following: Tailored Brands, JA Apparel
Corp., Jos A. Bank Clothiers, Inc., Joseph Abboud Manufacturing Corp., K&G Men’s Company, Inc., MWDC
Holding Inc., Nashawena Mills Corp., Renwick Technologies, Inc., Tailored Brands Gift Card Co LLC, Tailored
Brands Purchasing LLC, Tailored Shared Services, LLC, The Joseph A. Bank Mfg. Co., Inc., The Men’s Wearhouse,
Inc., and TMW Merchants LLC.

         189.     “Unsecured Noteholders” means, collectively, the Holders of Unsecured Notes Claims.

        190.    “Unsecured Notes” means those certain 7.00% senior notes, due 2022 issued pursuant to the
Unsecured Notes Indenture.

        191.    “Unsecured Notes Claim” means any Claim against the Debtors arising under, derived from, or
based upon the Unsecured Notes Indenture and the Unsecured Notes.

                                                           16
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 21 of 66



        192.     “Unsecured Notes Indenture” means that certain Indenture dated as of June 18, 2014, among The
Men’s Wearhouse, Inc. as issuer, the guarantors party thereto, and the Trustee, as amended, restated, supplemented or
otherwise modified from time to time.

         193.     “U.S. Equity Recovery Pool” means 7.5% of the New Equity to be contributed to the Liquidating
Trust and made available, in the aggregate, to Holders of Allowed Class 5(b) Claims asserted against a United States
Debtor, on account of such Allowed Class 5(b) Claims asserted against a United States Debtor (subject to dilution by
the Exit New Money Term Loan Equity Backstop Fee, the Management Incentive Plan, and the New Warrants), less
the amount of the WPC Equity Recovery Pool; provided, that, for the avoidance of doubt, any Holder of an Allowed
Class 5(b) Claim that elects the Cash Option shall not receive any portion of the U.S. Equity Recovery Pool.

         194.      “WPC” means Debtor Tailored Brands Worldwide Purchasing Co.

         195.      “WPC Equity Recovery Pool” means that percentage of the New Equity to be contributed to the
Liquidating Trust and made available, in the aggregate, to Holders of Allowed Class 5(b) Claims asserted against
WPC, on account of such Allowed Class 5(b) Claim asserted against WPC (subject to dilution by the Exit New Money
Term Loan Equity Backstop Fee, the Management Incentive Plan, and the New Warrants); provided, that, for the
avoidance of doubt, any Holder of an Allowed Class 5(b) Claim that elects the Cash Option shall not receive any
portion of the WPC Equity Recovery Pool. The WPC Equity Recovery Pool will be determined by the Liquidating
Trustee after a determination of the dollar amount of Allowed Claims asserted against WPC, and is estimated to range
between 0.7% and 1.6% of the New Equity, as discussed in Article IV.S.1 of this Plan.

          196.    “WPC-Moores Claims” means any General Unsecured Claim held by WPC against Moores the Suit
People Corp., which shall be treated, for the avoidance of doubt, as a Class 5(a) Claim, but will not receive any
distribution under the Plan.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented in accordance with the Plan or Confirmation Order, as
applicable; (4) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s successors and
assigns; (5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(6) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan Supplement;
(7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than
to a particular portion of the Plan; (8) subject to the provisions of any contract, certificate of incorporation, by-law,
instrument, release, or other agreement or document created or entered into in connection with the Plan, the rights and
obligations arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with the
applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (9) unless otherwise specified, the
words “include” and “including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be
deemed to be followed by the words “without limitation”; (10) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan; (11) unless
otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply;
(12) any term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or
the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules,
as the case may be; (13) all references to docket numbers of documents Filed in the Chapter 11 Cases are references
to the docket numbers under the Bankruptcy Court’s CM/ECF system; (14) all references to statutes, regulations,
orders, rules of courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases,
unless otherwise stated; (15) any immaterial effectuating provisions may be interpreted by the Reorganized Debtors
in such a manner that is consistent with the overall purpose and intent of the Plan all without further notice to or action,

                                                            17
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 22 of 66



order, or approval of the Bankruptcy Court or any other Entity; (16) all references herein to consent, acceptance, or
approval may be conveyed by counsel for the respective parties that have such consent, acceptance, or approval rights,
including by electronic mail; and (17) unless otherwise specified, any action to be taken on the Effective Date may be
taken on or as soon as reasonably practicable thereafter.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day.

D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided that
corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York shall be governed by the laws of the state of incorporation or formation of the relevant Debtor or the
Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in this Plan to the contrary, references in this Plan to the Debtors
or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the
context requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan, and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan shall control (unless stated otherwise in such Plan document or in the Confirmation
Order). In the event of an inconsistency between the Confirmation Order and the Plan, the Confirmation Order shall
control.

H.       Consent Rights.

          Notwithstanding anything herein to the contrary, any and all consent rights of the parties to the Restructuring
Support Agreement set forth in the Restructuring Support Agreement with respect to the form and substance of this
Plan, all exhibits to the Plan, the Plan Supplement, and the Definitive Documentation, including any amendments,
restatements, supplements, or other modifications to such agreements and documents, and any consents, waivers, or
other deviations under or from any such documents, shall be incorporated herein by this reference (including to the
applicable definitions in section A hereof), shall be fully enforceable as if stated in full herein and shall govern in the
case of any conflict between the terms of the Restructuring Support Agreement and the terms herein.




                                                            18
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 23 of 66



                                     ARTICLE II.
     ADMINISTRATIVE CLAIMS, DIP ABL FACILITY CLAIMS, PRIORITY CLAIMS, AND UNITED
                         STATES TRUSTEE STATUTORY FEES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP ABL Facility
Claims, Professional Fee Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the
Classes of Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

          Each Holder of an Allowed Administrative Claim (other than Holders of Administrative Claims that are
Professional Fee Claims, Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United
States Code, DIP ABL Facility Claims, or Swap Claims), to the extent such Claim has not been paid in full during the
Chapter 11 Cases or such Holder has not agreed to less favorable treatment, will receive in full and final satisfaction
of its Administrative Claim (a) payment in full in cash of the due and unpaid portion of its Allowed Administrative
Claim on the later of (x) the Effective Date (or as soon thereafter as reasonably practicable) or (y) as soon as practicable
after the date such Claim becomes due and payable; (b) subject to the reasonable consent of the Debtors and the
Required Consenting Term Loan Lenders, such other treatment to render such Administrative Claim unimpaired under
section 1124 of the Bankruptcy Code; or (c) subject to the reasonable consent of the Debtors and the Required
Consenting Term Loan Lenders, such other treatment as such holder may agree to or as otherwise permitted by section
1129(a)(9) of the Bankruptcy Code; provided, that, Allowed Administrative Claims under section 507(a)(2) of the
Bankruptcy Code shall only be satisfied in accordance with clause (a) or (c) of this paragraph.

         Except as otherwise provided in this Article II.A of the Plan, and except with respect to Administrative
Claims that are DIP ABL Facility Claims, Swap Claims, Professional Fee Claims, or Cures, requests for payment of
Administrative Claims must be Filed with the Bankruptcy Court and served on the Debtors pursuant to the procedures
specified in the Confirmation Order and the notice of entry of the Confirmation Order no later than the Administrative
Claims Bar Date. Holders of Administrative Claims that are required to, but do not, File and serve a request for
payment of such Administrative Claims by such date shall be forever barred, estopped, and enjoined from asserting
such Administrative Claims against the Debtors or their property and such Administrative Claims shall be deemed
discharged as of the Effective Date.

B.       Professional Fee Claims.

         1.   Final Fee Applications and Payment of Professional Fee Claims.

          All requests for payment of Professional Fee Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than forty-five (45) days after the Effective Date. The
Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in
accordance with the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional
Fee Claims in Cash in the amount the Bankruptcy Court allows, including from the Professional Fee Escrow Account,
which the Reorganized Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional
Fee Amount on the Effective Date. To the extent the funds held in the Professional Fee Escrow Account are
insufficient to satisfy the amount of the Professional Fee Claims owing to the Professionals, such Professionals shall
have an allowed Administrative Claim for any such deficiency, which shall be satisfied in accordance with Article
II.A of the Plan.

         2.   Professional Fee Escrow Account.

          On the Effective Date, the Reorganized Debtors shall, without duplication of any account or amount
established for the benefit of Professionals pursuant to a DIP/Cash Collateral Order, establish and fund the Professional
Fee Escrow Account with Cash equal to the Professional Fee Amount, which shall be funded by the Reorganized
Debtors. The Professional Fee Escrow Account shall be maintained in trust solely for the Professionals. Such funds
shall not be considered property of the Estates of the Debtors or the Reorganized Debtors. The amount of Professional
Fee Claims owing to the Professionals shall be paid in Cash to such Professionals by the Reorganized Debtors from
                                                            19
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 24 of 66



the Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee Claims are
Allowed. When all such Allowed amounts owing to Professionals have been paid in full, any remaining amount in
the Professional Fee Escrow Account shall promptly be paid to the Reorganized Debtors without any further action
or order of the Bankruptcy Court.

         3.   Professional Fee Amount.

          Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees and
expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such
estimate to the Debtors no later than two (2) Business Days before the Effective Date; provided, however, that such
estimate shall not be considered an admission with respect to the fees and expenses of such Professional or be deemed
to limit the amount of the fees and expenses that are the subject of the Professional’s final request for payment of Filed
Professional Fee Claims. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors may
estimate the unpaid and unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

C.       DIP ABL Facility Claims.

          Notwithstanding anything to the contrary in the Plan or the Confirmation Order, (i) the Surviving DIP
Obligations shall survive the Effective Date and shall not be discharged or released pursuant to the Plan or the
Confirmation Order until the obligations under the DIP ABL Facility have been Paid in Full, and (ii) the DIP ABL
Facility and the DIP ABL Documents shall continue in full force and effect after the Effective Date with respect to
any obligations thereunder governing the Surviving DIP Obligations until the obligations under the DIP ABL Facility
have been Paid in Full. After the Effective Date, the Reorganized Debtors shall continue to reimburse the DIP ABL
Agent and the DIP ABL Lenders for the reasonable and documented fees and expenses (including reasonable and
documented legal fees and expenses) incurred by the DIP ABL Agent and the DIP ABL Lenders after the Effective
Date that survive termination or maturity of the DIP ABL Facility in accordance with the terms thereof and/or the
Final DIP/Cash Collateral Order until the obligations under the DIP ABL Facility have been Paid in Full. The
Reorganized Debtors shall pay all of the amounts that may become payable to the DIP ABL Agent or any of the DIP
ABL Lenders under any of the foregoing provisions in accordance with the terms of the DIP ABL Documents. The
DIP ABL Documents and all related loan documents shall continue in effect solely for the purpose of preserving the
DIP ABL Agent’s right to any Surviving DIP Obligations of the Debtors pursuant to and subject to the terms of the
DIP ABL Documents and the Final DIP/Cash Collateral Order.

         For the avoidance of doubt, upon entry of the Confirmation Order, the DIP ABL Facility Claims shall be
deemed to be Allowed for all purposes as fully Secured Claims in an amount equal to (i) the principal amount
outstanding under the DIP ABL Facility on such date, (ii) all interest accrued and unpaid thereon to the date of
payment, and (iii) any and all accrued and unpaid fees, expenses, and indemnification or other obligations of any kind
payable under the DIP Credit Agreement Documents. Such DIP ABL Facility Claims shall not be subject to any
avoidance, reduction, setoff, offset, recoupment, recharacterization, subordination (whether equitable, contractual, or
otherwise), counterclaim, cross-claim, defense, disallowance, impairment, objection, or any other challenge under any
applicable law or regulation by any Entity.

          Except to the extent that a Holder of an Allowed DIP ABL Facility Claim agrees to a less favorable treatment,
in full and final satisfaction, settlement, release, and discharge of each Allowed DIP ABL Facility Claim, on the
                                                           20
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 25 of 66



Effective Date, each Holder thereof shall: (i) if those certain conversion conditions set forth in the DIP Credit
Agreement remain unsatisfied as of the Effective Date, be Paid in Full on the Effective Date or (ii) if those certain
conversion conditions as set forth in the DIP Credit Agreement are fully satisfied as of the Effective Date, receive its
Pro Rata share of and interest in the Exit ABL Facility. Except with respect to the Surviving DIP Obligations and as
otherwise expressly provided in the DIP ABL Documents, upon the Allowed DIP ABL Facility Claims being Paid in
Full or such other treatment as contemplated by this Article II.C of the Plan, all Liens and security interests granted to
secure the Allowed DIP ABL Facility Claims shall be automatically terminated and of no further force and effect
without any further notice to or action, order, or approval of the Court or any other Entity. Notwithstanding anything
to the contrary herein, including in Article VIII, neither the DIP ABL Facility Claims nor the ABL Facility Claims,
shall not be deemed satisfied, settled, released, or discharged until the later of (i) the Effective Date of the Plan and
(ii) (a) with respect to the DIP ABL Facility Claims, satisfaction in accordance with this Article II.C or (b) with respect
to ABL Facility Claims, satisfaction in accordance with Article II.C.

D.       Swap Claims.

         Upon entry of the Confirmation Order, the Swap Claims shall be deemed to be Allowed for all purposes as
fully Secured Claims in an amount equal to $41,993,355. Such Swap Claims shall not be subject to any avoidance,
reduction, setoff, offset, recoupment, recharacterization, subordination (whether equitable, contractual, or otherwise),
counterclaim, cross-claim, defense, disallowance, impairment, objection, or any other challenge under any applicable
law or regulation by any Entity.

         Except to the extent that the Holder of an Allowed Swap Claim agrees to a less favorable treatment, in full
and final satisfaction, settlement, release, and discharge of the Swap Claims, on the Effective Date, the Swap Claims
shall be Paid in Full in Cash in the amount of the Allowed amount thereof from the proceeds of DIP ABL Priority
Collateral and, solely to the extent that there is a deficiency of DIP ABL Priority Collateral, Cash from the proceeds
of Term Loan Priority Collateral.

E.       Priority Tax Claims.

          Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

F.       United States Trustee Statutory Fees

         The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee quarterly fees
under 28 U.S.C. § 1930(a)(6), plus any interest due and payable under 31 U.S.C. § 3717 on all disbursements,
including Plan payments and disbursements in and outside the ordinary course of the Debtors’ or Reorganized
Debtors’ business (or such amount agreed to with the United States Trustee or ordered by the Bankruptcy Court), for
each quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed, whichever
occurs first.

G.       Payment of Restructuring Expenses.

          The Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective Date,
shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter (to the extent not previously
paid during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms set forth herein and in
the Restructuring Support Agreement, without any requirement to File a fee application with the Bankruptcy Court,
without the need for itemized time detail, or without any requirement for Bankruptcy Court review or approval. All
Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the Effective Date and
such estimates shall be delivered to the Debtors at least two (2) Business Days before the anticipated Effective Date;
provided, however, that such estimates shall not be considered an admission or limitation with respect to such
Restructuring Expenses. On the Effective Date, final invoices for all Restructuring Expenses incurred prior to and as
of the Effective Date shall be submitted to the Debtors. In addition, the Debtors and the Reorganized Debtors (as
applicable) shall continue to pay pre- and post-Effective Date, when due and payable in the ordinary course,
                                                            21
        Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 26 of 66



Restructuring Expenses related to implementation, consummation, and defense of the Plan, whether incurred before,
on, or after the Effective Date.

                                           ARTICLE III.
                      CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.           Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
of the Plan, all Claims and Interests are classified in the Classes set forth below in accordance with section 1122 and
1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular Class
only to the extent that any portion of such Claim or Interest qualifies within the description of that Class and is
classified in other Classes to the extent that any portion of such Claim or Interest qualifies within the description of
such other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving
distributions under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class
and has not been paid, released, or otherwise satisfied prior to the Effective Date.

             The classification of Claims against and Interests in the Debtors pursuant to the Plan is as follows:

     Class                  Claims and Interests                    Status                     Voting Rights
 Class 1         Other Secured Claims                            Unimpaired      Not Entitled to Vote (Deemed to Accept)

 Class 2         Other Priority Claims                           Unimpaired      Not Entitled to Vote (Deemed to Accept)

 Class 3         ABL Facility Claims                             Unimpaired      Not Entitled to Vote (Deemed to Accept)

 Class 4         Term Loan Secured Claims                        Impaired        Entitled to Vote

 Class 5(a)      Moores General Unsecured Claims                 Unimpaired      Not Entitled to Vote (Deemed to Accept)

 Class 5(b)      Other General Unsecured Claims                  Impaired        Entitled to Vote

 Class 5(c)      GUC Convenience Claims                          Unimpaired      Not Entitled to Vote (Deemed to Accept)
                                                                 Unimpaired /    Not Entitled to Vote (Deemed to Accept /
 Class 6         Intercompany Claims
                                                                 Impaired        Reject)
                                                                 Unimpaired /    Not Entitled to Vote (Deemed to Accept /
 Class 7         Intercompany Interests
                                                                 Impaired        Reject)
 Class 8         Existing Equity Interests                       Impaired        Not Entitled to Vote (Deemed to Reject)

 Class 9         Section 510(b) Claims                           Impaired        Not Entitled to Vote (Deemed to Reject)


B.           Treatment of Claims and Interests.

          Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such
Holder’s Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the Reorganized
Debtors, the Super-Majority Consenting Term Loan Lenders, and the Holder of such Allowed Claim or Allowed
Interest, as applicable. Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable,
shall receive such treatment on the Effective Date or as soon as reasonably practicable thereafter.




                                                              22
Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 27 of 66



 1.   Class 1 - Other Secured Claims

          (a)      Classification: Class 1 consists of any Other Secured Claims.

          (b)      Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
                   to less favorable treatment, to the extent such Claim has not already been paid in full during
                   the Chapter 11 Cases, in full and final satisfaction, settlement, release, and discharge of,
                   and in exchange for each Allowed Other Secured Claim, each Holder thereof shall receive,
                   at the option of the applicable Debtor(s), with the reasonable consent of the Required
                   Consenting Term Loan Lenders, either:

                   (i)      payment in full in Cash of the due and unpaid portion of its Allowed Other
                            Secured Claim on the later of (x) the Effective Date (or as soon thereafter as
                            reasonably practicable) or (y) as soon as practicable after the date such Claim
                            becomes due and payable;

                   (ii)     the collateral securing its Allowed Other Secured Claim;

                   (iii)    Reinstatement of its Allowed Other Secured Claim; or

                   (iv)     such other treatment rendering its Allowed Other Secured Claim Unimpaired.

          (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Claims in Class 1 are
                   conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                   Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                   Plan.

 2.   Class 2 - Other Priority Claims

          (a)      Classification: Class 2 consists of any Other Priority Claims.

          (b)      Treatment: Except to the extent that a holder of an Allowed Other Priority Claim agrees
                   to less favorable treatment, to the extent such Claim has not already been paid in full during
                   the Chapter 11 Cases, in full and final satisfaction, settlement, release, and discharge of,
                   and in exchange for each Allowed Other Priority Claim, each Holder thereof shall receive,
                   either:

                   (i)      cash in an amount equal to the due and unpaid portion of such Allowed Other
                            Priority Claim on the later of (i) the Effective Date (or as soon thereafter as
                            reasonably practicable) or (ii) as soon as practicable after the date such Claim
                            becomes due in the ordinary course of business in accordance with the terms and
                            conditions of the particular transaction, contract, or other agreement giving rise to
                            such Allowed Other Priority Claim;

                   (ii)     subject to the reasonable consent of the Debtors and the Required Consenting
                            Term Loan Lenders, such other treatment to render such Other Secured Claim
                            unimpaired under section 1124 of the Bankruptcy Code; or

                   (iii)    subject to the reasonable consent of the Debtors and Required Consenting Term
                            Loan Lenders, such other treatment as such holder may agree to or otherwise
                            permitted by section 1129(a)(9) of the Bankruptcy Code.

          (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Claims in Class 2 are
                   conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the

                                                  23
Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 28 of 66



                  Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                  Plan.

 3.   Class 3 - ABL Facility Claims

          (a)     Classification: Class 3 consists of any ABL Facility Claims to the extent not Paid in Full,
                  “rolled up”, or converted into DIP Obligations pursuant to the DIP/Cash Collateral Order
                  prior to the Effective Date.

          (b)     Allowance: The ABL Facility Claims shall be Allowed in the aggregate amount of the
                  amount outstanding under the ABL Credit Agreement on the Effective Date, plus any
                  unreimbursed amounts thereunder, and any accrued but unpaid interest on such
                  unreimbursed amounts through the Effective Date, plus any fees, charges, expenses,
                  reimbursement obligations, indemnification obligations, prepayment premiums, and other
                  amounts due under the ABL Credit Agreement.

          (c)     Treatment: In full and final satisfaction, compromise, settlement, release, and discharge of
                  the Claims in Class 3 (unless the applicable Holder agrees to a less favorable treatment),
                  solely to the extent not already indefeasibly Paid in Full in cash or “rolled up” or converted
                  into DIP Obligations pursuant to the DIP/Cash Collateral Orders before the Effective Date,
                  (i) each Holder of an Allowed ABL Facility Claim shall receive Cash in the full amount of
                  its Allowed ABL Facility Claim and (ii) all issued and undrawn letters of credit under the
                  ABL Documents shall be replaced or cash collateralized in the amounts specified under the
                  ABL Credit Agreement.

          (d)     Voting: Class 3 is Unimpaired under the Plan. Holders of Claims in Class 3 are
                  conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                  Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                  Plan.

 4.   Class 4 - Term Loan Secured Claims

          (a)     Classification: Class 4 consists of all Term Loan Secured Claims.

          (b)     Allowance: The Term Loan Secured Claims shall be Allowed in the aggregate amount of
                  $558,342,314.

          (c)     Treatment: Except to the extent that a Holder of an Allowed Term Loan Secured Claim
                  agrees to less favorable treatment, in full and final satisfaction, settlement, release, and
                  discharge of, and in exchange for each Allowed Term Loan Secured Claim, each Holder
                  thereof shall receive its Pro Rata share of and interest in:

                  (i)      the Exit Takeback Term Loan Facility; and

                  (ii)     92.5% of the New Equity (subject to dilution by the Exit New Money Term Loan
                           Equity Backstop Fee, the Management Incentive Plan, and the New Warrants).




                                                 24
Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 29 of 66



          (d)     Voting: Class 4 is Impaired under the Plan and Holders of Allowed Claims in Class 4 are
                  entitled to vote to accept or reject the Plan.

 5.   Class 5(a) - Moores General Unsecured Claims

          (a)     Classification: Class 5(a) consists of any Moores General Unsecured Claims.

          (b)     Treatment: To the extent such Allowed Class 5(a) Claim has not already been paid in full
                  during the Chapter 11 Cases, in full and final satisfaction, settlement, release, and discharge
                  of, and in exchange for each Allowed Class 5(a) Claim, each Holder thereof shall receive,
                  at the option of the applicable Debtor(s), with the reasonable consent of the Required
                  Consenting Term Loan Lenders, either:

                  (i)      payment in full in Cash of the due and unpaid portion of its Allowed Class 5(a)
                           Claim on the later of (x) the Effective Date (or as soon thereafter as reasonably
                           practicable) or (y) as soon as practicable after the date such Claim becomes due
                           and payable;

                  (ii)     Reinstatement of such Allowed Class 5(a) Claim; or

                  (iii)    such other treatment rendering its Allowed Class 5(a) Claim Unimpaired.

          (c)     Voting: Class 5(a) is Unimpaired under the Plan. Holders of Claims in Class 5(a) are
                  conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                  Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                  Plan.

 6.   Class 5(b) - Other General Unsecured Claims

          (a)     Classification: Class 5(b) consists of any Other General Unsecured Claims.

          (b)     Allowance: The Term Loan Deficiency Claims shall be Allowed in the aggregate amount
                  of $318,787,686. Other General Unsecured Claims that are not Term Loan Deficiency
                  Claims shall be Allowed or disallowed in accordance with the Claims resolution
                  procedures set forth in this Plan.

          (c)     Treatment: To the extent such Allowed Class 5(b) Claim has not already been paid in full
                  during the Chapter 11 Cases, in full and final satisfaction, settlement, release, and discharge
                  of, and in exchange for each Allowed Class 5(b) Claim, each Holder thereof shall receive,
                  at the option of such Holder, either: (a) the Liquidating Trust Equity Recovery or (b) the
                  Cash Option; provided, that the Term Loan Lenders shall not be entitled to any recovery
                  on account of any Term Loan Deficiency Claims, which shall be deemed waived,
                  extinguished, satisfied, released, and discharged for all purposes on the Effective Date;
                  provided, further, that each Holder of an Allowed Class 5(b) Claim shall be receive the
                  treatment set forth in their Class 5(b) Election Form.

          (d)     Voting: Class 5(b) is Impaired under the Plan and Holders of Allowed Claims in Class 5(b)
                  are entitled to vote to accept or reject the Plan.

 7.   Class 5(c) - GUC Convenience Claims

          (a)     Classification: Class 5(c) consists of any GUC Convenience Claims.

          (b)     Treatment: Except to the extent that a Holder of an Allowed GUC Convenience Claim
                  agrees to less favorable treatment, in full and final satisfaction, settlement, release, and
                                                  25
Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 30 of 66



                   discharge of, and in exchange for each Allowed GUC Convenience Claim, each Holder
                   thereof shall receive, at the option of the applicable Debtor(s), with the reasonable consent
                   of the Required Consenting Term Loan Lenders, either:

                   (i)      payment in full in Cash of the due and unpaid portion of its Allowed GUC
                            Convenience Claim on the later of (x) the Effective Date (or as soon thereafter as
                            reasonably practicable) or (y) as soon as practicable after the date such Claim
                            becomes due and payable;

                   (ii)     Reinstatement of such Allowed GUC Convenience Claim; or

                   (iii)    such other treatment rendering its Allowed GUC Convenience Claim Unimpaired.

          (c)      Voting: Class 5(c) is Unimpaired under the Plan. Holders of Claims in Class 5(c) are
                   conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                   Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                   Plan.

 8.   Class 6 - Intercompany Claims

          (a)      Classification: Class 6 consists of all Intercompany Claims.

          (b)      Treatment: Each Intercompany Claim shall be, at the option of the Debtors and the
                   Required Consenting Term Loan Lenders, setoff, contributed, distributed, compromised,
                   settled, Reinstated, canceled and released without any distribution, or otherwise addressed
                   in a manner determined by the Debtors and the Required Consenting Term Loan Lenders.

          (c)      Voting: Class 6 is Impaired or Unimpaired under the Plan. Holders of Class 6 Claims are
                   conclusively deemed to have accepted or rejected the Plan pursuant to section 1126(f) or
                   1126(g) of the Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept
                   or reject the Plan.

 9.   Class 7 - Intercompany Interests

          (a)      Classification: Class 7 consists of any Intercompany Interests.

          (b)      Treatment: Each Intercompany Interest shall be, at the option of the Debtors and the
                   Required Consenting Term Loan Lenders, as applicable, contributed, distributed,
                   eliminated via merger or other corporate transaction, Reinstated, canceled and released
                   without any distribution, or otherwise addressed in a manner determined by the Debtors
                   and the Required Consenting Term Loan Lenders.

          (c)      Voting: Class 7 is Impaired or Unimpaired under the Plan. Holders of Class 7 Interests
                   are conclusively deemed to have accepted or rejected the Plan pursuant to section 1126(f)
                   or 1126(g) of the Bankruptcy Code. Therefore, such holders are not entitled to vote to
                   accept or reject the Plan.




                                                  26
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 31 of 66



         10. Class 8 - Existing Equity Interests

                  (a)      Classification: Class 8 consists of any Existing Equity Interests.

                  (b)      Treatment: Each Existing Equity Interest shall be extinguished and cancelled, and will be
                           of no further force or effect. Each Holder of an Existing Equity Interest shall receive no
                           recovery on account of such Existing Equity Interest.

                  (c)      Voting: Class 8 is Impaired. Holders of Class 8 Interests are conclusively deemed to have
                           rejected the Plan under section 1126(g) of the Bankruptcy Code. Holders of Class 8
                           Interests are not entitled to vote to accept or reject the Plan.

         11. Class 9 - Section 510(b) Claims

                  (a)      Classification: Class 9 consists of any Section 510(b) Claims.

                  (b)      Treatment: Section 510(b) Claims shall be discharged, cancelled, released, and
                           extinguished without any distribution to holders of such Claims.

                  (c)      Voting: Class 9 is Impaired. Holders (if any) of Allowed Class 9 Claims are conclusively
                           deemed to have rejected the Plan under section 1126(g) of the Bankruptcy Code. Holders
                           (if any) of Allowed Class 9 Claims are not entitled to vote to accept or reject the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claims, including, all rights regarding legal and equitable defenses to, or
setoffs or recoupments against, any such Unimpaired Claims.

D.       Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience, for the ultimate benefit of the Holders of New Equity, and in exchange for the Debtors’
and Reorganized Debtors’ agreement under the Plan to make certain distributions to the Holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors shall seek
Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of
Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article X of the Plan to the
                                                          27
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 32 of 66



extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including
by modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or Interests
Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation
Date.

I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Pursuant to section 510 of the Bankruptcy Code, and subject to the Restructuring Support Agreement,
the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Allowed Interest in accordance with
any contractual, legal, or equitable subordination relating thereto.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

         As discussed further in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of Claims and Interests and controversies resolved pursuant to the Plan. The Plan
shall be deemed a motion to approve the good faith compromise and settlement of all such Claims, Interests, and
controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise is fair,
equitable, reasonable and in the best interests of the Debtors and their Estates. Distributions made to Holders of
Allowed Claims and Allowed Interests in any Class are intended to be final.

B.       Restructuring Transactions.

          On or before the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into any
transactions and shall take any actions as may be necessary or appropriate to effectuate the Restructuring Transactions
(as agreed, including as set forth in the Description of Transaction Steps, and in accordance with the Restructuring
Support Agreement and subject to the applicable consent and approval rights thereunder), including to establish
Reorganized Tailored and, if applicable, to transfer assets of the Debtors to Reorganized Tailored or a subsidiary
thereof. The applicable Debtors or the Reorganized Debtors will take any actions as may be necessary or advisable
to effect a corporate restructuring of the overall corporate structure of the Debtors, to the extent agreed in accordance
with the consent rights in the Restructuring Support Agreement and provided herein, in the Description of Transaction
Steps, or in the Definitive Documentation, including the issuance of all securities, notes, instruments, certificates, and
other documents required to be issued pursuant to the Plan, one or more intercompany mergers, consolidations,
amalgamations, arrangements, continuances, restructurings, conversions, dissolutions, transfers, liquidations, or other
corporate transactions.

         On the Effective Date, subject in all respects (and after giving effect) to the treatment, distribution, and all
other provisions of the Plan and the Confirmation Order, all property in each Estate, all Causes of Action, and any
property acquired by any of the Debtors pursuant to the Plan shall vest in the Reorganized Debtors, free and clear of
all Liens, Claims, charges, Causes of Action, or other encumbrances. To the extent provided in the Description of
                                                           28
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 33 of 66



Transaction Steps, each Debtor, other than Reorganized Tailored, may be deemed dissolved in accordance with
applicable law, without any further notice to or action, order, or approval of the Bankruptcy Court or any other Entity.
Reorganized Tailored shall be the issuer of New Equity and New Warrants as set forth herein (and as set forth in the
Description of Transaction Steps).

           The actions to implement the Restructuring Transactions may include, in each case if and as agreed in
accordance with the Restructuring Support Agreement and subject to the applicable consent and approval rights
thereunder: (1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation,
consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase,
or reorganization containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable parties may agree; (2) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, duty, debt, or obligation on terms consistent with the terms of the Plan and having other terms for which the
applicable parties agree; (3) the rejection, assumption, or assumption and assignment, as applicable, of Executory
Contracts and Unexpired Leases; (4) the filing of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or dissolution pursuant
to applicable law; (5) all transactions necessary or appropriate to provide for the purchase of substantially all of the
assets or Interests of any of the Debtors by one or more Entities to be wholly owned by Reorganized Tailored, which
purchase, if applicable, may be structured as a taxable transaction for United States federal income tax purposes; and
(6) all other actions that the applicable parties determine to be necessary or appropriate, including making filings or
recordings that may be required by applicable law in connection with the Plan, in each case of clauses (1) through (6),
consistent with the Description of Transaction Steps.

         The Confirmation Order shall and shall be deemed to, pursuant to sections 363 and 1123 of the Bankruptcy
Code, authorize, among other things, all actions as may be necessary or appropriate to effect any transaction described
in, approved by, contemplated by, or necessary to effectuate the Plan, including the Restructuring Transactions.

C.       The Reorganized Debtors.

         On the Effective Date, the New Board shall be established, and each Reorganized Debtor shall adopt its New
Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other agreements, documents,
and instruments and to take any other actions contemplated under the Plan as necessary to consummate the Plan.

D.       Sources of Consideration for Plan Distributions.

         1.   Exit ABL Facility

          On the Effective Date, the Reorganized Debtors shall enter into the Exit ABL Facility, the terms of which
will be set forth in the Exit ABL Facility Documents. Confirmation of the Plan shall be deemed approval of the Exit
ABL Facility and the Exit ABL Facility Documents, as applicable, and all transactions contemplated thereby, and all
actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized Debtors in connection
therewith, including the payment of all fees, indemnities, expenses, and other payments provided for therein and
authorization of the Reorganized Debtors to enter into and execute the Exit ABL Facility Documents and such other
documents as may be required to effectuate the treatment afforded by the Exit ABL Facility.

         On the later of (i) the Effective Date and (ii) the satisfaction of the DIP ABL Facility Claims and the Swap
Claims in accordance with Article II.C and Article II.D, respectively, all of the Liens and security interests to be
granted in accordance with the Exit ABL Facility Documents (a) shall be deemed to be granted, (b) shall be legal,
binding, and enforceable Liens on, and security interests in, the collateral granted thereunder in accordance with the
terms of the Exit ABL Facility Documents, (c) shall be deemed automatically perfected on the Effective Date, subject
only to such Liens and security interests as may be permitted under the Exit ABL Facility Documents, and (d) shall
not be subject to recharacterization or equitable subordination for any purposes whatsoever and shall not constitute
preferential transfers or fraudulent conveyances under the Bankruptcy Code or any applicable non-bankruptcy law.
The Reorganized Debtors and the persons and entities granted such Liens and security interests shall be authorized to
make all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and
                                                          29
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 34 of 66



perfect such Liens and security interests under the provisions of the applicable state, federal, or other law that would
be applicable in the absence of the Plan and the Confirmation Order (it being understood that perfection shall occur
automatically by virtue of the entry of the Confirmation Order and any such filings, recordings, approvals, and
consents shall not be required), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.

         2.   Exit Term Loan Facility.

          On the Effective Date, and without the need for any further corporate action or other action by Holders of
Claims or Interests, the Reorganized Debtors shall enter into the Exit Term Loan Facility, the terms of which will be
set forth in the Exit Term Loan Facility Documents. Confirmation of the Plan shall be deemed approval of the Exit
Term Loan Facility and the Exit Term Loan Facility Documents, as applicable, and all transactions contemplated
thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized
Debtors in connection therewith, including the payment of all fees, indemnities, expenses, and other payments
provided for therein and authorization of the Reorganized Debtors to enter into and execute the Exit Term Loan
Facility Documents and such other documents as may be required to effectuate the treatment afforded by the Exit
Term Loan Facility.

          On the Effective Date, and without the need for any further corporate action or other action by Holders of
Claims or Interests, all of the Liens and security interests to be granted in accordance with the Exit Term Loan Facility
Documents (a) shall be deemed to be granted, (b) shall be legal, binding, and enforceable Liens on, and security
interests in, the collateral granted thereunder in accordance with the terms of the Exit Term Loan Facility Documents,
(c) shall be deemed automatically perfected on the Effective Date, subject only to such Liens and security interests as
may be permitted under the Exit Term Loan Facility Documents, and (d) shall not be subject to recharacterization or
equitable subordination for any purposes whatsoever and shall not constitute preferential transfers or fraudulent
conveyances under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the
persons and entities granted such Liens and security interests shall be authorized to make all filings and recordings,
and to obtain all governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, federal, or other law that would be applicable in the absence of
the Plan and the Confirmation Order (it being understood that perfection shall occur automatically by virtue of the
entry of the Confirmation Order and any such filings, recordings, approvals, and consents shall not be required), and
will thereafter cooperate to make all other filings and recordings that otherwise would be necessary under applicable
law to give notice of such Liens and security interests to third parties.

         3.   New Equity.

          On the Effective Date, Reorganized Tailored (consistent with the Description of Transaction Steps) shall
issue the New Equity directly or indirectly to Holders of Claims to the extent provided in the Plan. The issuance of
the New Equity, including New Equity reserved under the Management Incentive Plan, shall be authorized without
the need for any further corporate action and without any further action by any party. The terms of the New Equity
shall be governed by the Shareholder Agreement and the New Equity Documentation, as applicable.

         All of the New Equity issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and
non-assessable. Each distribution and issuance referred to in Article VI hereof shall be governed by the terms and
conditions set forth in the Plan applicable to such distribution or issuance and by the terms and conditions of the
instruments evidencing or relating to such distribution or issuance, which terms and conditions shall bind each Entity
receiving such distribution or issuance.




                                                           30
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 35 of 66



         4.   New Warrants

         On the Effective Date, Reorganized Tailored (consistent with the Description of Transaction Steps) shall
issue the New Warrants directly or indirectly to Holders of Claims to the extent provided for in the Plan. The terms
of the New Warrants shall be governed by the New Warrant Agreement.

         All of the New Equity issuable upon exercise of the New Warrants issued pursuant to the Plan shall, when
so issued and upon payment of the exercise price by the Liquidating Trust in accordance with the terms of the New
Warrants, be duly authorized, validly issued, fully paid, and non-assessable.

          Each distribution and issuance referred to in Article VI hereof shall be governed by the terms and conditions
set forth in the Plan applicable to such distribution or issuance and by the terms and conditions of the instruments
evidencing or relating to such distribution or issuance, which terms and conditions shall bind each Entity receiving
such distribution or issuance.

E.       Corporate Existence.

          Except as otherwise provided in the Plan or the Description of Transaction Steps, each Debtor shall continue
to exist after the Effective Date as a separate corporate Entity, limited liability company, partnership, or other form,
as the case may be, with all the powers of a corporation, limited liability company, partnership, or other form, as the
case may be, pursuant to the applicable law in the jurisdiction in which each applicable Debtor is incorporated or
formed and pursuant to the respective certificate of incorporation and bylaws (or other formation documents) in effect
prior to the Effective Date, except to the extent such certificate of incorporation and by-laws (or other formation
documents) are amended under the Plan or otherwise, and to the extent such documents are amended, such documents
are deemed to be amended pursuant to the Plan and require no further action or approval (other than any requisite
filings required under applicable state, provincial, or federal law).

F.       Vesting of Assets in the Reorganized Debtors.

          Except as otherwise provided in the Plan (including, for the avoidance of doubt, the Description of
Transaction Steps) or any agreement, instrument, or other document incorporated herein, on the Effective Date, all
property in each Debtor’s Estate, all Causes of Action, and any property acquired by any of the Debtors pursuant to
the Plan shall vest in each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, Causes of
Action, or other encumbrances. On and after the Effective Date, except as otherwise provided in the Plan, each
Reorganized Debtor may operate its business and may use, acquire, or dispose of property and compromise or settle
any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules.

G.       Cancellation of Existing Agreements and Interests.

          On the later of the Effective Date and the date on which the relevant distributions are made pursuant to the
Plan (if not made on the Effective Date), except for the purpose of evidencing a right to and allowing Holders of
Claims and Interests to receive a distribution under the Plan or to the extent otherwise specifically provided for in the
Plan or set forth in the Description of Transaction Steps, (a) all notes, instruments, certificates, and other documents
evidencing Claims or Interests, and any other certificate, equity security, share, note, bond, indenture, purchase right,
option, warrant, or other instrument or document directly or indirectly evidencing or creating any indebtedness or
obligation of or ownership interest in the Debtors giving rise to any Claim or Interest (except such agreements,
certificates, notes, or other instruments or documents evidencing indebtedness or obligation of or ownership interest
in the Debtors that are reinstated or amended and restated pursuant to the Plan), shall be cancelled, and the obligations
of the Debtors thereunder or in any way related thereto shall be deemed satisfied in full, cancelled, discharged, and of
no force or effect, and the Agents and Trustee shall not have any continuing duties or obligations thereunder and shall
be discharged; and (b) the obligations of the Debtors pursuant, relating, or pertaining to any credit document,
agreement, indenture, any agreements, certificates of designation, bylaws or certificate, or articles of incorporation or
similar documents governing the shares, certificates, notes, bonds, indentures, purchase rights, options, or other
instruments or documents evidencing or creating any indebtedness or obligation of or ownership interest in the Debtors
(except such agreements, certificates, notes, or other instruments evidencing indebtedness or obligation of or
                                                           31
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 36 of 66



ownership interest in the Debtors that are specifically reinstated, amended and reinstated, or entered into pursuant to
the Plan) shall be released and discharged; provided, however, that the applicable credit document, agreement, or
indentures shall continue in effect for the purposes of: (i) allowing the Agents and Trustee to receive or direct
distributions from the Debtors and to make further distributions to the applicable Holders of Claims (subject to any
applicable charging liens), and allowing such Holders to accept distributions, on account of such Claims;
(ii) preserving the Agents’ and Trustee’s rights to payment of reasonable and documented fees and expenses (to be
documented in accordance with the terms of the applicable credit document(s), agreement(s), or indenture(s)), and
allowing the maintenance, exercise, and enforcement of any applicable charging lien and priority of payment rights
for the payment of reasonable and documented fees and expenses (to be documented in accordance with the terms of
the applicable credit document(s), agreement(s), or indenture(s)), including the Agent’s or Trustee’s charging liens
and priority of payment rights pursuant and subject to the terms of the applicable credit document(s), agreement(s),
or indenture(s), or any related or ancillary document, instrument, agreement, or principle of law, against any money
or property distributed or allocable on account of such Claims, as applicable; (iii) seeking compensation and
reimbursement for any reasonable and documented fees and expenses incurred by or on behalf of the Agents and
Trustee in connection with the implementation of the Plan; (iv) allowing the Agents and Trustee to enforce their
respective rights, claims, and interests against any Entity that is not a Released Party; (v) preserving the right of Agents
and Trustee to exculpation and, indemnification from the Debtors or any other Entity pursuant and subject to the terms
of the applicable credit document(s), agreement(s), or indenture(s), and permitting each of the Agents and Trustee to
maintain, enforce, and exercise its respective charging liens in connection therewith; (vi) maintaining, enforcing, and
exercising any right or obligation to compensation, indemnification, exculpation, expense reimbursement, or
contribution, or any other claim or entitlement that the Agents and Trustee may have under the applicable credit
document(s), agreement(s), or indenture(s), permitting each of the Agents and Trustee to maintain, enforce, and
exercise its respective charging liens in connection therewith; (vii) permitting the Agents and Trustee to perform any
functions that are necessary to effectuate the forgoing; and (viii) preserving the Agents’ and Trustee’s right to appear
and be heard in the Chapter 11 Cases or in any other proceeding in the Bankruptcy Court, including but not limited to
enforcing any obligations owed to it under the Plan, Confirmation Order, or under the applicable credit document(s),
agreement(s), or indenture(s); provided that (a) subject to the satisfaction of the applicable Debtors’ or Reorganized
Debtors’ obligations under the Plan and the Confirmation Order, nothing in this Plan shall affect the discharge of
Claims (other than Surviving DIP Obligations) pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan
and (b) except as otherwise provided in the Plan or the Confirmation Order, the terms and provisions of the Plan shall
not modify any existing contract or agreement that would in any way be inconsistent with distributions under the Plan;
provided, further, that all provisions in credit documents, agreements, or indentures that by their own terms or by the
terms and provisions of the Plan or the Confirmation Order survive the termination, discharge, expiration, or maturity
thereof, shall also survive and continue in full force and effect. On the Effective Date, each holder of a certificate or
instrument evidencing a Claim that is discharged by the Plan shall be deemed to have surrendered such certificate or
instrument in accordance with the applicable indenture(s) or credit agreement that governs the rights of such holder
of such Claim. Such surrendered certificate or instrument shall be deemed cancelled as set forth in, and subject to the
exceptions set forth in, this Article IV.G. If the record Holder of the Unsecured Notes Claim is DTC or its nominee
or another securities depository or custodian thereof, and Holders of the Unsecured Notes Claims are represented by
a global security held by or on behalf of DTC or such other securities depository or custodian, then each such Holder
of such Unsecured Notes Claims shall be deemed to have surrendered such Holder’s note, debenture, or other evidence
of indebtedness upon surrender of such global security by DTC or such other securities depository or custodian thereof.

         On and after the Effective Date, the duties and responsibilities of the Agents and Trustee under the respective
credit agreement or document or indenture(s), as applicable, shall be discharged and released, except (i) to the extent
required to effectuate the Plan including, but not limited to, making distributions under the Plan to the holders of
Allowed Claims under their respective credit agreement or document or indenture(s) and (ii) with respect to any rights
of the Agents and Trustee to payment of reasonable and documented fees, expenses, and indemnification obligations
(to be documented in accordance with the terms of the applicable credit document(s), agreement(s), or indenture(s))
as against any money or property distributable to holders of Claims or Interests pursuant and subject to the terms of
the applicable credit document(s), agreement(s), or indenture(s), including any rights to priority of payment and/or to
exercise charging liens. After the performance by the Agents and Trustee and their respective representatives and
professionals of any obligations and duties required under or related to the Plan or the Confirmation Order, the Agents
and Trustee shall be deemed to be forever relieved of and released from any obligations and duties arising thereunder.


                                                            32
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 37 of 66



H.       Corporate Action.

          Upon the Effective Date, and without the need for any further corporate action or other action by Holders of
Claims or Interests, all corporate actions contemplated under the Plan shall be deemed authorized and approved in all
respects, including: (1) adoption or assumption, as applicable, of the Employment Obligations; (2) selection of the
directors, officers, or managers for the Reorganized Debtors; (3) the distribution of the New Equity and New Warrants;
(4) implementation of the Restructuring Transactions; (5) entry into the Exit ABL Facility Documents; (6) entry into
the Exit Term Loan Facility Documents; (7) all other actions contemplated under the Plan (whether to occur before,
on, or after the Effective Date); (8) adoption of the New Organizational Documents; (9) the rejection, assumption, or
assumption and assignment, as applicable, of Executory Contracts and Unexpired Leases; and (10) all other acts or
actions contemplated or reasonably necessary or appropriate to promptly consummate the Restructuring Transactions
contemplated by the Plan (whether to occur before, on, or after the Effective Date). All matters provided for in the
Plan involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate action required
by the Debtors or the Reorganized Debtors, as applicable, in connection with the Plan shall be deemed to have occurred
and shall be in effect, without any requirement of further action by the security Holders, directors, officers, or
managers of the Debtors or the Reorganized Debtors, as applicable. On or (as applicable) prior to the Effective Date,
the appropriate officers of the Debtors or the Reorganized Debtors, as applicable, shall be authorized and (as
applicable) directed to issue, execute, and deliver the agreements, documents, securities, and instruments contemplated
under the Plan (or necessary or desirable to effect the transactions contemplated under the Plan) in the name of and
on behalf of the Reorganized Debtors, including the New Equity, the New Warrants, the New Organizational
Documents, the Exit ABL Facility Documents, the Exit Term Loan Facility Documents, and any and all other
agreements, documents, securities, and instruments relating to the foregoing. The authorizations and approvals
contemplated by this Article IV.H shall be effective notwithstanding any requirements under non-bankruptcy law.

I.       New Organizational Documents.

          On the Effective Date, or following the entry of the Confirmation Order and prior to the Effective Date, to
the extent set forth in the Description of Transaction Steps, if applicable, the organizational documents of each of the
Debtors shall be amended, amended and restated, or replaced as may be necessary to effectuate the transactions
contemplated or permitted by the Plan. On the Effective Date, or following the entry of the Confirmation Order and
prior to the Effective Date, to the extent set forth in the Description of Transaction Steps, if applicable, each of the
Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of State and/or other
applicable authorities in its respective state or country of incorporation if and to the extent required in accordance with
the corporate laws of the respective state or country of incorporation. The New Organizational Documents will
prohibit the issuance of non-voting equity securities, to the extent required under section 1123(a)(6) of the Bankruptcy
Code. For the avoidance of doubt, the New Organizational Documents shall be included as exhibits to the Plan
Supplement. After the Effective Date, the Reorganized Debtors may amend and restate New Organizational
Documents, and the Reorganized Debtors may file their respective certificates or articles of incorporation, bylaws, or
such other applicable formation documents, and other constituent documents as permitted by the laws of the respective
states, provinces, or countries of incorporation and the New Organizational Documents.

J.       Directors and Officers of the Reorganized Debtors.

          As of the Effective Date, the term of the current members of the board of directors of the Debtors shall expire,
and the members for the initial term of the New Board shall be appointed. The initial members of the New Board will
be identified in the Plan Supplement, to the extent known at the time of filing, pursuant to the terms of the
Restructuring Support Agreement. Each such member and officer of the Reorganized Debtors shall serve from and
after the Effective Date pursuant to the terms of the New Organizational Documents and other constituent documents
of the Reorganized Debtors. The New Board shall consist of the number of members as set forth in the Plan
Supplement; provided, that the process for selecting the New Board and all governance related matters for Reorganized
Tailored shall be in form and substance acceptable to the Required Consenting Term Loan Lenders (in consultation
with the Debtors).




                                                            33
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 38 of 66



K.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, Reorganized Tailored and the New Board are authorized to and may issue,
execute, deliver, file, or record such contracts, Securities, instruments, releases, and other agreements or documents
and take such actions as may be necessary to effectuate, implement, and further evidence the terms and conditions of
the Plan and the Securities issued pursuant to the Plan in the name of and on behalf of Reorganized Tailored, without
the need for any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

L.       Certain Securities Law Matters.

          The New Equity and the New Warrants issued under the Plan will be issued without registration under the
Securities Act or any similar federal, state, or local law in reliance upon section 1145 of the Bankruptcy Code. The
New Equity and the New Warrants issued under the Plan in reliance upon section 1145 of the Bankruptcy Code are
exempt from, among other things, the registration requirements of Section 5 of the Securities Act and any other
applicable U.S. state or local law requiring registration prior to the offering, issuance, distribution, or sale of securities.
Pursuant to section 1145 of the Bankruptcy Code, the New Equity and the New Warrants issued under the Plan: (a) are
not “restricted securities” as defined in Rule 144(a)(3) under the Securities Act; and (b) are freely tradable and
transferable by any holder thereof that (i) is not an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1)
under the Securities Act, (ii) has not been such an “affiliate” within ninety (90) days of such transfer, (iii) has not
acquired the New Equity from an “affiliate” within one year of such transfer, and (iv) is not an Entity that is an
“underwriter” as defined in section 1145(b) of the Bankruptcy Code. Such New Equity and New Warrants will be
freely tradable in the United States by the recipients thereof, subject to the provisions of section 1145(b)(1) of the
Bankruptcy Code relating to the definition of an underwriter in section 1145(b) of the Bankruptcy Code, and
compliance with applicable securities laws and any rules and regulations of the United States Securities and Exchange
Commission, if any, applicable at the time of any future transfer of such Securities or instruments and subject to any
restrictions in the New Organizational Documents and the New Warrant Agreement, as applicable. The New Equity
issued pursuant to this Plan will (i) be DTC eligible, (ii) entitle the beneficial owner of such securities on a confidential
basis to certain information as set forth in the New Organizational Documents, and (iii) entitle the beneficial owner to
attend quarterly management calls with Q&A (which may be joint with lenders); provided, that the foregoing shall
not be required with respect to such securities to the extent that, as a result thereof, the Reorganized Debtors will be
(or will be required to be) an SEC registered entity.

           DTC shall be required to accept and conclusively rely upon the Plan or Confirmation Order in lieu of a legal
opinion regarding whether such securities are exempt from registration and/or eligible for DTC book-entry delivery,
settlement, and depository services. Notwithstanding anything to the contrary in the Plan, no legal opinion regarding
the offering, issuance, and distribution of any Securities contemplated by the Plan, including, for the avoidance of
doubt, whether the New Equity is exempt from registration and/or eligible for DTC book-entry delivery, settlement,
and depository services shall be required.

M.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
reinstatement, distribution, transfer, or exchange of any debt, Equity Security, or other interest in the Debtors or the
Reorganized Debtors; (2) the Restructuring Transactions; (3) the creation, modification, consolidation, termination,
refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means; (4) the making, assignment, or recording of any lease or sublease; (5) the grant
of collateral as security for any or all of the Reorganized Debtors’ obligations under or in connection with the Exit
Facilities; or (6) the making, delivery, or recording of any deed or other instrument of transfer under, in furtherance
of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of transfer
executed in connection with any transaction arising out of, contemplated by, or in any way related to the Plan, shall
not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax,
stamp act, real estate transfer tax, personal property transfer tax, mortgage recording tax, Uniform Commercial Code
filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental assessment, and upon
entry of the Confirmation Order, the appropriate state or local governmental officials or agents shall forego the

                                                              34
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 39 of 66



collection of any such tax, recordation fee or governmental assessment and accept for filing and recordation any of
the foregoing instruments or other documents without the payment of any such tax, recordation fee, or governmental
assessment. All filing or recording officers (or any other Person with authority over any of the foregoing), wherever
located and by whomever appointed, shall comply with the requirements of section 1146(c) of the Bankruptcy Code,
shall forego the collection of any such tax, recordation fee or governmental assessment, and shall accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such tax, recordation fee
or governmental assessment.

N.       Employee Matters.

          On the Effective Date, the Debtors shall assume each of the written contracts, agreements, policies, programs
and plans for compensation, bonuses, reimbursement, health care benefits, disability benefits, deferred compensation
benefits, travel benefits, vacation and sick leave benefits, savings, severance benefits, retirement benefits, welfare
benefits, relocation programs, life insurance and accidental death and dismemberment insurance, including written
contracts, agreements, policies, programs and plans for bonuses and other incentives or compensation for the Debtors’
current and former employees, directors, officers, and managers, including executive compensation programs and
existing compensation arrangements for the employees of the Debtors (but excluding any severance agreements with
any of Debtors’ former employees) that are set forth in the Schedules of Assumed and Rejected Contracts. which shall
be in accordance with the Restructuring Support Agreement, in form and substance acceptable to the Required
Consenting Term Loan Lenders. Except to the extent provided by Article VII of the Plan, nothing in the Plan shall
limit, diminish, or otherwise alter the Debtors’ or the Reorganized Debtors’ defenses, claims, Causes of Action, or
other rights with respect to any such employment agreements.

         Notwithstanding the foregoing, pursuant to section 1129(a)(13) of the Bankruptcy Code, on and after the
Effective Date, all retiree benefits (as that term is defined in section 1114 of the Bankruptcy Code), if any, shall
continue to be paid in accordance with applicable law.

           As of the Effective Date, the obligations under the Pension Plan will continue in accordance with, and subject
to, its terms and applicable non-bankruptcy law (and the Reorganized Debtors reserve all rights thereunder), and as a
consequence, PBGC and the Debtors agree that the Debtors will timely pay the October 2020 Pension Plan premiums
and that all PBGC Claims will be deemed withdrawn as of the Effective Date without incurring liability in the
bankruptcy and without any further action of the Debtors or the Reorganized Debtors or PBGC and without any further
action, order or approval of the Bankruptcy Court.

          Nothing in the Debtors’ bankruptcy proceedings, Confirmation Order, Plan of Reorganization, or
Section 1141 of the Bankruptcy Code shall in any way be construed to discharge, release, limit, or relieve the Debtors,
Reorganized Debtors, or any of their successors, any officers, any directors or any other employee of the Debtors or
Reorganized Debtors, any parties in interest (as defined in ERISA § 3(14)) to the Pension Plan (including any
fiduciaries of the Pension Plan and any Pension Plan service providers), or any other Persons that have caused harm
to the Pension Plan or improperly received assets of the Pension Plan from any liability or responsibility that is both
(i) imposed under ERISA, the Internal Revenue Code, or any other law with respect to the Pension Plan and
(ii) enforced solely by PBGC or the Pension Plan. PBGC and the Pension Plan shall not be enjoined or precluded
from enforcing any liability or responsibility arising under ERISA, the Internal Revenue Code, or any other law with
respect to the Pension Plan.

         On the Effective Date, each Collective Bargaining Agreement shall be assumed by the applicable Debtor
party thereto. Any Proofs of Claim filed by a Union for amounts due under its applicable Collective Bargaining
Agreement and any Cure related thereto shall be considered satisfied by the agreement to assume and the satisfaction
of any Cure, if any, in accordance with Article V herein. For the avoidance of doubt, following such assumption, the
applicable Debtor shall continue to be subject to all applicable terms and conditions of the applicable Collective
Bargaining Agreement (until their expiration, modification or termination in accordance with their terms or applicable
law) and shall pay any amounts that come due for payment post-assumption in the ordinary course of business in
accordance with such terms and conditions.



                                                           35
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 40 of 66



O.       Management Incentive Plan.

        The New Board shall be authorized to implement the Management Incentive Plan on or after the Effective
Date; provided, that 7.5% of the aggregate amount of New Equity on a fully diluted basis shall be reserved for the
Management Incentive Plan.

P.       Long-Term Incentive Plan.

       The New Board shall adopt the Long-Term Incentive Plan within 90 days of the Effective Date. The
Long-Term Incentive Plan shall include provisions addressing, among other things, incentives for certain employees.

Q.       Change in Control Severance Plans.

        The New Board shall adopt the Change in Control Severance Plans within 90 days of the Effective Date. The
Change in Control Severance Plans shall cover the same employees and shall otherwise be substantially similar to the
change in control severance plans offered by the Debtors to certain of their employees prior to the Effective Date;
provided, that the Change in Control Severance Plans shall clarify that any future bankruptcy or reorganization of the
Reorganized Debtors does not constitute a change in control.

R.       Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, the
Reorganized Debtors shall retain and may enforce all rights to commence and pursue, as appropriate, any and all
Causes of Action, whether arising before or after the Petition Date, including any actions specifically enumerated in
the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to commence, prosecute, or settle
such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date, other than the Causes
of Action released by the Debtors pursuant to the releases and exculpations contained in the Plan, including in Article
VIII.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference in the Plan,
the Plan Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that the
Debtors or the Reorganized Debtors, as applicable, will not pursue any and all available Causes of Action
against it. The Debtors or the Reorganized Debtors, as applicable, expressly reserve all rights to prosecute any
and all Causes of Action against any Entity, except as otherwise expressly provided in the Plan, including
Article VIII of the Plan. Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised, or settled in the Plan or a Bankruptcy Court order, Reorganized Tailored expressly
reserves all Causes of Action, for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of
res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or
laches, shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action notwithstanding the rejection or
repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In
accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold against any
Entity shall vest in Reorganized Tailored, except as otherwise expressly provided in the Plan, including Article VIII
of the Plan. The Reorganized Debtors, through its authorized agents or representatives, shall retain and may
exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the exclusive right,
authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the foregoing without the
consent or approval of any third party or further notice to or action, order, or approval of the Bankruptcy Court.

       On the Effective Date, the Reorganized Debtors shall waive and release all Avoidance Actions and
Avoidance Actions shall not be retained Causes of Action.



                                                           36
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 41 of 66



S.       The Liquidating Trust.

         1.   Establishment of the Liquidating Trust.

          On the Effective Date, the Debtors will establish the Liquidating Trust in order to maximize the distribution
available to Holders of Allowed Class 5(b) Claims. The Liquidating Trust will have no objective other than as set
forth in, and shall fulfill its purpose in accordance with, this Plan and the Liquidating Trust Agreement and shall have
the obligation to carry out its Claims reconciliation duties as effectively as possible without undue delay.

         On the Effective Date, the Liquidating Trust Assets shall irrevocably vest and be deemed to vest in the
Liquidating Trust in accordance with section 1141 of the Bankruptcy Code or as otherwise set forth in the Liquidating
Trust Agreement; provided, however, that (i) any New Warrants that would otherwise be attributable to the Holders
of Class 5(b) Claims that elect the Cash Option shall be cancelled, and shall not be redistributed to other Holders of
Class 5(b) Claims that did not elect the Cash Option, (ii) any New Equity that would otherwise be attributable to the
Holders of Class 5(b) Claims that elect the Cash Option shall be redistributed to the Reorganized Debtors, and shall
not be redistributed to other Holders of Class 5(b) Claims that did not elect the Cash Option; provided, further, that
any Liquidating Trustee Fee Amount remaining in the Liquidating Trust following the final distribution shall revert
to the Reorganized Debtors. The Liquidating Trust will hold the Liquidating Trust Assets for the benefit of the
beneficiaries thereof, subject to the foregoing and the Liquidating Trust Agreement.

           On the Effective Date, the Reorganized Debtors shall (i) fund an amount equal to the Liquidating Trustee
Fee Amount to be placed in a segregated account and held in trust by the Liquidating Trustee and (ii) transfer all
rights, title, and interest in the other Liquidating Trust Assets, free and clear of any and all liens, claims, interest, or
encumbrances to the Liquidating Trust for the benefit of the beneficiaries thereof; provided, however, (x) that any
New Warrants that would otherwise be attributable to the Holders of Class 5(b) Claims that elect the Cash Option
shall be cancelled, and shall not be redistributed to other Holders of Class 5(b) Claims that did not elect the Cash
Option, and (y) any New Equity that would otherwise be attributable to the Holders of Class 5(b) Claims that elect the
Cash Option shall be redistributed to the Reorganized Debtors, and shall not be redistributed to other Holders of Class
5(b) Claims that did not elect the Cash Option.

         Following the Effective Date, the True-Up Parties shall implement and abide by the True-Up Procedures.

          The Liquidating Trust shall be solely responsible for determining the WPC Equity Recovery Pool. After
careful consideration of WPC’s capital structure, including the lack of WPC debt under the ABL Loans, Term Loans,
and Unsecured Notes, it was determined that Holders of WPC Class 5(b) Claims may be entitled to a greater percentage
recovery than Holders of Class 5(b) Claims against the United States Debtors. The best current estimate of the amount
of Allowed Class 5(b) General Unsecured Claims is $15 million to $30 million, although the amount of Filed
Class 5(b) General Unsecured Claims is approximately $80 million. It is estimated that the WPC Equity Recovery
Pool will range from between 0.7% and 1.6% of the New Equity, with the remainder of the Liquidating Trust Equity
constituting the U.S. Equity Recovery Pool.

         Upon final determination of the Allowed Class 5(b) Claims, the Liquidating Trustee shall provide notice to
the Reorganized Debtors of the total amount of Allowed Class 5(b) Claims, and a breakdown of the Holders of
Allowed Class 5(b) Claims that have elected the Cash Option. The Debtors shall then make a final distribution in
respect of the Cash Option to any holders of Allowed Class 5(b) Claims that have not already received their Cash, and
the Liquidating Trustee shall then make a final distribution from the Liquidating Trust Assets to the Holders of
Allowed Class 5(b) Claims of their respective Liquidating Trust Equity Recovery; provided, that the Liquidating
Trustee shall distribute the Liquidating Trust Equity Recovery of applicable Holders that have selected the Cash
Option to the Reorganized Debtors and cancel all remaining New Warrants. For the avoidance of doubt, no
Intercompany Claims shall receive any recovery from the Liquidating Trust and shall not be eligible to receive the
Liquidating Trust Equity Recovery.




                                                            37
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 42 of 66



         2.   Rights and Powers of the Liquidating Trustee.

          The Liquidating Trustee’s activities shall be limited to (a) prosecuting objections to and resolving Claims
asserted as Class 5(b) Claims; (b) distributing the Liquidating Trust Equity Recovery to Holders of Allowed Class
5(b) Claims; (c) exercising rights and obligations as provided in the Liquidating Trust Agreement, shareholders
agreement and such other New Organizational Documents to which the Liquidating Trustee shall be a party or bound,
(d) raising funds to satisfy the Cash strike price of the New Warrants to the extent desirable to the Liquidating Trust,
and (e) such other limited activities as are necessary to the proper execution of the foregoing. The Liquidating
Trustee’s rights relating to the administration of Claims shall include the right to (i) object to or otherwise contest
and/or resolve Claims asserted as Class 5(b) Claims (including, for the avoidance of doubt, Claims arising from the
rejection of Executory Contracts and Unexpired Leases), whether asserted in a Proof of Claim or scheduled by a
Debtor and (ii) assert any and all rights of setoff, counterclaims, recoupment claims, and claims under contracts,
insofar as such rights relate to the objection or contest of any Class 5(b) Claim (together, the “Liquidating Trust Claim
Rights”).

          The Liquidating Trustee shall have the authority to reasonably retain any professionals necessary to assist
the Liquidating Trustee in carrying out its duties under the Liquidating Trust Agreement; provided that the Liquidating
Trustee and any such professionals shall be compensated solely from Liquidating Trustee Fee Amount and in no event
shall the Liquidating Trustee or any of its professionals have or make any claim for reimbursement of fees or expenses
against any Person other than the Liquidating Trustee or any property other than the Liquidating Trustee Fee Amount.
Further, the Liquidating Trustee shall have the authority to pay its professionals out of the Liquidating Trustee Fee
Amount without the need for further Bankruptcy Court approval.

         The Debtors or the Reorganized Debtors, as applicable, will cooperate with the Liquidating Trustee and its
professionals, as applicable, solely in relation to the activities of the Liquidating Trustee expressly authorized
hereunder, including by providing reasonable, good-faith access to personnel, systems, and books and records, upon
request by the Liquidating Trustee, to the extent and at such times as providing such access will not interfere with the
discharge of the primary obligations of the Debtors, the Reorganized Debtors, and their respective personnel.

          To the extent that the Debtors or Reorganized Debtors determine that responding to any particular
information request from the Liquidating Trustee requires the Debtors, the Reorganized Debtors, or their personnel to
expend material time or resources outside the ordinary course of their operations or responsibilities, the Debtors, the
Reorganized Debtors, or their personnel shall communicate the same to the Liquidating Trustee, together with a range
of expected costs to satisfy such information request. Such parties shall work in good faith to address any disputes
arising in connection with such cost analysis. The Liquidating Trust shall satisfy any agreed-upon cost expenditures
solely through the Liquidating Trustee Fee Amount; in the absence of such agreement, the Liquidating Trustee may
withdraw its information request, the Debtors or the Reorganized Debtors, may determine to not satisfy such request,
and all parties’ rights are reserved to raise any such disputes with the Bankruptcy Court.

T.       Tax Treatment of the Liquidating Trust and the Cash Option

         1.       Liquidating Trust Treatment

          The Liquidating Trust may, except as otherwise set forth below with respect to treatment as a disputed
ownership fund, be classified as a “liquidating trust” under section 301.7701-4(d) of the Treasury Regulations and
qualify as a “grantor trust” under section 671 of the Internal Revenue Code. In such case, any beneficiaries of such
Liquidating Trust would be treated as grantors and deemed owners thereof and, for all United States federal income
tax purposes, any beneficiaries would be treated as if they had received a distribution from the Debtors of an undivided
interest in the assets of the Liquidating Trust and then contributed such undivided interest to the vehicle. If this
treatment applies, the person or persons responsible for administering the Liquidating Trust shall, in an expeditious
but orderly manner, make timely distributions to beneficiaries of the Liquidating Trust pursuant to the Plan and not
unduly prolong its duration.

         No entity-level tax should be imposed on the Liquidating Trust with respect to earnings generated by the
assets held by the Liquidating Trust to the extent “liquidating trust” treatment applies. Each beneficiary must report

                                                           38
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 43 of 66



on its federal income tax return its allocable share of income, gain, loss, deduction and credit, if any, recognized or
incurred by the Liquidating Trust, even if no distributions are made. Allocations of taxable income with respect to the
Liquidating Trust shall be determined by reference to the manner in which an amount of cash equal to such taxable
income would be distributed (without regard to any restriction on distributions described herein) if, immediately before
such deemed distribution, the Liquidating Trust had distributed all of their other assets (valued for this purpose at their
tax book value) to the beneficiaries, taking into account all prior and concurrent distributions from the Liquidating
Trust. Similarly, taxable losses of the Liquidating Trust will be allocated by reference to the manner in which an
economic loss would be borne immediately after a liquidating distribution of the remaining assets. The tax book value
of the assets for this purpose shall equal their respective fair market values on the Effective Date or, if later, the date
such assets were acquired, adjusted in either case in accordance with the tax accounting principles prescribed by the
applicable provisions of the Internal Revenue Code, Treasury Regulations, and other applicable administrative and
judicial authorities and pronouncements.
          In the event any tax is imposed on the Liquidating Trust, the person or persons responsible for administering
the Liquidating Trust shall be responsible for payment, solely out of the assets of the Liquidating Trust of any taxes
imposed on the Liquidating Trust.

         2.       Disputed Ownership Fund Treatment

         With respect to any of the assets of the Liquidating Trust that are subject to potential disputed claims of
ownership or uncertain distributions, the Liquidating Trust may be subject to disputed ownership fund treatment under
Section 1.468B-9 of the Treasury Regulations. Under such treatment, a separate federal income tax return shall be
filed with the IRS for any such account. Any taxes (including with respect to earned interest, if any) imposed on the
Liquidating Trust as a result of this treatment shall be paid out of the assets of the Liquidating Trust (and reductions
shall be made to amounts disbursed from the account to account for the need to pay such taxes).

         2.       Tax Treatment of the Cash Option

         The Liquidating Trust Agreement shall set forth the intended tax treatment of Holders of Claims exercising
the Cash Option. The treatment set forth therein shall be binding for all U.S. federal, state, local, and non-U.S. tax
purposes on the Debtors, the Reorganized Debtors, any Holder of a Claim, and the Liquidating Trust, unless otherwise
required by a final determination by a relevant taxing authority.

U.       Closing the Chapter 11 Cases.

         Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to close all of the
Chapter 11 Cases except for one of the Chapter 11 Cases as determined by the Reorganized Debtors and the Required
Consenting Term Loan Lenders and all contested matters relating to each of the Debtors, including objections to
Claims, shall be administered and heard in such Chapter 11 Case.


                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

          On the Effective Date, except as otherwise provided herein, each Executory Contract and Unexpired Lease
(including those set forth as assumed in the Schedules of Assumed and Rejected Contracts) shall be deemed assumed
as of the Effective Date by the applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code, unless
such Executory Contract or Unexpired Lease: (1) was previously assumed, assumed and assigned, or rejected by the
Debtors (which assumption, assumption and assignment, or rejection shall have been with the consent of the Required
Consenting Term Loan Lenders); (2) previously expired or terminated pursuant to its own terms; (3) is identified as
rejected on the Schedules of Assumed and Rejected Contracts; (4) is the subject of a motion to reject that is pending
on the Effective Date; or (5) is a Deferred Decision Lease. On the Effective Date, except as otherwise provided herein,
each Executory Contract and Unexpired Lease that is identified as rejected on the Schedules of Assumed and Rejected


                                                            39
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 44 of 66



Contracts shall be deemed rejected as of the Effective Date by the applicable Debtor pursuant to sections 365 and 1123
of the Bankruptcy Code.

          Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the occurrence of the
Effective Date, constitute a Final Order approving the assumptions, assumptions and assignments, and rejections, as
applicable, of the Executory Contracts and Unexpired Leases as set forth in the Plan, and the Schedules of Assumed
and Rejected Contracts, as applicable, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Any motions to
assume, assume and assign, or reject Executory Contracts or Unexpired Leases pending on the Effective Date shall be
subject to approval by the Bankruptcy Court on or after the Effective Date by a Final Order. Unless otherwise specified
in the Plan Supplement, the Schedules of Assumed and Rejected Contracts, or an applicable Bankruptcy Court order,
assumptions, assumptions and assignments, or rejections of Executory Contracts and Unexpired Leases pursuant to
the Plan are effective as of the Effective Date. Each Executory Contract and Unexpired Lease assumed pursuant to
the Plan or by any order of the Bankruptcy Court, which has not been assigned to a third party prior to the Confirmation
Date, shall re-vest in and be fully enforceable by the applicable contracting Reorganized Debtor in accordance with
its terms, except as such terms may be modified by the provisions of the Plan or any order of the Bankruptcy Court
authorizing and providing for its assumption under applicable federal law. Notwithstanding anything to the contrary
in the Plan, the Debtors or the Reorganized Debtors, as applicable, with the consent of the Required Consenting Term
Loan Lenders shall have the right to alter, amend, modify, or supplement the Schedules of Assumed and Rejected
Contracts identified in this Article V.A of the Plan and in the Plan Supplement at any time through and including 45
days after the Effective Date; provided, however, that after the date of the Confirmation Hearing, the Debtors may not
subsequently reject any Unexpired Lease, other than a Deferred Decision Lease, previously designated as assumed or
assumed and assigned or assume or assume and assign an Unexpired Lease previously designated as rejected on the
Schedules of Assumed and Rejected Contracts absent the consent of the applicable lessor, order of the Bankruptcy
Court, or as otherwise provided for in this Plan.

         To the extent that any provision in any Executory Contract or Unexpired Lease assumed or assumed and
assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or deemed breached
by, the assumption or assumption and assignment of such Executory Contract or Unexpired Lease (including
any “change of control” provision), then such provision shall be deemed modified such that the transactions
contemplated by the Plan shall not entitle the non-Debtor party or parties to such Executory Contract or Unexpired
Lease to terminate such Executory Contract or Unexpired Lease or to exercise any other default-related rights with
respect thereto.

B.       Indemnification Obligations.
         Notwithstanding anything herein to the contrary, the obligations of the Debtors pursuant to their certificates
of incorporation, bylaws, or other agreements to indemnify the current and former officers, directors, agents, and/or
employees with respect to all present and future actions, suits, and proceedings against the Debtors, or such directors,
officers, agents, and/or employees, based upon any act or omission relating to the Debtors, will not be discharged or
impaired by consummation of the Restructuring Transactions. All such obligations will be assumed by the Debtors
on the Effective Date, and all such obligations will continue as obligations of the Reorganized Debtors.
          The Debtors shall not terminate or otherwise reduce the coverage under any directors’ and officers’ insurance
policies (including the “tail policy”) in effect prior to the Effective Date, and any directors and officers of the Debtors
who served in such capacity at any time before or after the Effective Date shall be entitled to the full benefits of any
such policy for the full term of such policy regardless of whether such directors and/or officers remain in such positions
after the Effective Date. Notwithstanding anything herein to the contrary, the Debtors shall retain the ability to
supplement such directors’ and officers’ insurance policies as the Debtors deem necessary, including purchasing any
tail coverage.

C.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

        Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Claims and Noticing Agent and served on the Debtors or
Reorganized Debtors, as applicable, no later than thirty (30) days after the date of entry of an order of the Bankruptcy

                                                            40
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 45 of 66



Court (including the Confirmation Order) approving such rejection. Any Claims arising from the rejection of an
Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be
automatically disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or
the Reorganized Debtors, the Estates, or their property without the need for any objection by the Reorganized
Debtors or further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and
any Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully
satisfied, released, and discharged, and be subject to the permanent injunction set forth in Article VIII.F of the
Plan, including any Claims against any Debtor listed on the Schedules as unliquidated, contingent, or disputed.
All Allowed Claims arising from the rejection by any Debtor of any Executory Contract or Unexpired Lease shall be
treated as a General Unsecured Claim in accordance with Article III.B and Article III.C of the Plan.

D.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         The Debtors or the Reorganized Debtors, as applicable, shall satisfy Cures, if any, on the Effective Date or
as soon as reasonably practicable thereafter. Unless otherwise agreed upon in writing by the parties to the applicable
Executory Contract or Unexpired Lease, all requests for satisfaction of Cures that differ from the amounts paid or
proposed to be paid by the Debtors or the Reorganized Debtors to a counterparty and any requests for alternate
performance and/or timing of performance to cure any nonmonetary defaults that constitute a Cure must be Filed with
the Bankruptcy Court on or before the applicable date specified in the notice of assumption or assumption and
assignment of such Executory Contract or Unexpired Lease. Any such request that is not timely Filed shall be
disallowed and forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any
Reorganized Debtor, without the need for any objection by the Reorganized Debtors or any other party in interest or
any further notice to or action, order, or approval of the Bankruptcy Court. Any Cure shall be deemed fully satisfied,
released, and discharged upon satisfaction by the Debtors or the Reorganized Debtors of the Cure; provided that
nothing herein shall prevent the Reorganized Debtors from satisfying any Cure despite the failure of the relevant
counterparty to File such request for satisfaction of such Cure. The Reorganized Debtors also may settle any Cure
without any further notice to or action, order, or approval of the Bankruptcy Court. In addition, any objection to the
assumption of an Executory Contract or Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on
or before the applicable date specified in the notice of assumption or assumption and assignment of such Executory
Contract or Unexpired Lease. Any such objection will be scheduled to be heard by the Bankruptcy Court at the
Debtors’ or Reorganized Debtors’, as applicable, first scheduled omnibus hearing for which such objection is timely
Filed. Any counterparty to an Executory Contract or Unexpired Lease that fails to timely object to the proposed
assumption of any Executory Contract or Unexpired Lease will be deemed to have consented to such assumption.

          Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed pursuant to the
Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the Cure amount in Cash
on the Effective Date, subject to the limitation described below, or on such other terms as the parties to such Executory
Contracts or Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount of any
payments to cure such a default, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to assumption, the Cure payments
and/or performance required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a
Final Order or orders resolving the dispute and approving the assumption; provided that the Reorganized Debtors may
settle any such dispute without any further notice to, or action, order, or approval of the Bankruptcy Court or any other
Entity; provided, further, that notwithstanding anything to the contrary herein, prior to the entry of a Final Order
resolving any such dispute and approving the assumption of any such Executory Contract or Unexpired Lease, the
Reorganized Debtors shall have the right to reject any such Executory Contract or Unexpired Lease that is subject to
dispute, whether by amending the Schedules of Assumed and Rejected Contracts in accordance with Article V.A of
the Plan or otherwise.

          At least fourteen (14) days prior to the first day of the Confirmation Hearing, the Debtors shall provide for
notices of proposed assumption or assumption and assignment and proposed Cures to be Filed and sent to applicable
third parties, which notices will include procedures for objecting thereto and resolution of disputes by the Bankruptcy
Court; provided, that to the extent counsel for an applicable third party has Filed a notice of appearance and request
for notice in these Chapter 11 Cases on behalf of such third party and included an electronic mailing address in such

                                                           41
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 46 of 66



notice of appearance, the notices of proposed assumption or assumption and assignment shall also be sent via
electronic mail to counsel for such third party. The Debtors shall serve (by electronic mail, if requested) a counterparty
to an Executory Contract or Unexpired Lease to be assumed or assumed and assigned with evidence of adequate
assurance as soon as reasonably practicable upon such counterparty’s written request to the Debtors’ counsel. Any
objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or assumption
and assignment or related Cure must be Filed, served, and actually received by the Debtors no later than the applicable
date specified in the notice of assumption or assumption and assignment of such Executory Contract or Unexpired
Lease. Any counterparty to an Executory Contract or Unexpired Lease that fails to timely object to the proposed
assumption or Cure will be deemed to have assented to such assumption or assumption and assignment and Cure.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and full
satisfaction of any applicable Cure pursuant to this Article V.D shall result in the full release and satisfaction of any
Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change
in control or ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time prior to the effective date of assumption. Any and all Proofs of
Claim based upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, and for which any Cure has been fully satisfied pursuant to this
Article V.D, shall be deemed disallowed and expunged as of the Effective Date without the need for any
objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

        Notwithstanding anything herein to the contrary, upon assumption of an Unexpired Lease, the Debtors or
Reorganized Debtors, as applicable, shall be obligated to pay or perform any accrued but unbilled obligations under
the Unexpired Lease including, but not limited to, common area maintenance charges, taxes, year-end adjustments,
and indemnity obligations under the Unexpired Lease, regardless of whether a claim arose before or after the Petition
Date.

E.       Modifications, Amendments, Supplements, Restatements, or Other Agreements

          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed or
assumed and assigned shall include all modifications, amendments, supplements, restatements, or other agreements
that in any manner affect such Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired
Leases related thereto, if any, including all easements, licenses, permits, rights, privileges, immunities, options, rights
of first refusal, and any other interests, unless any of the foregoing agreements has been previously rejected or
repudiated or is rejected or repudiated under the Plan.
         Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any Claims
that may arise in connection therewith.
F.       Surety Bonds.

          On the Effective Date, all of the Debtors’ obligations and commitments to any surety providers as set forth
in the Final Order Authorizing the Debtors to Maintain the Surety Bond Program [Docket No. 444] shall be deemed
reaffirmed by the Reorganized Debtors, including as applicable: (i) surety payment and indemnity agreements, setting
forth the sureties’ rights against the Debtors, and the Debtors’ obligations to pay and indemnify the sureties from any
loss, cost, or expense that the sureties may incur, in each case, on account of the issuance of any surety bonds on
behalf of the Debtors; (ii) surety collateral agreements governing collateral, if any, in connection with the Debtors’
surety bonds; and/or (iii) ordinary course premium payments to any surety for the Debtors’ surety bonds.

G.       Insurance Policies.

        Notwithstanding anything to the contrary in the Disclosure Statement, the Plan, the Plan Supplement, the
Confirmation Order, any bar date notice or claim objection, any other document related to any of the foregoing, or
any other order of the Bankruptcy Court (including, without limitation, any other provision that purports to be
preemptory or supervening, grants an injunction, discharge or release, or requires a party to opt out of any releases):

                                                            42
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 47 of 66



(1) on the Effective Date, the Debtors shall be deemed to have assumed all Insurance Policies in their entirety pursuant
to sections 105 and 365 of the Bankruptcy Code and such Insurance Policies shall revest in the Reorganized Debtors,
and the Reorganized Debtors shall remain liable in full for all of their and the Debtors’ obligations thereunder,
regardless of whether such obligations arise before or after the Effective Date, without the requirement or need for
any Insurer to File a Proof of Claim, an Administrative Claim, a Cure, or to object to any Cure; (2) nothing shall alter,
modify, amend, affect, impair, or prejudice the legal, equitable, or contractual rights, obligations, and defenses of the
Insurers, the Debtors (or, after the Effective Date, the Reorganized Debtors), or any other individual or Entity, as
applicable, under any Insurance Policies, and all such rights and obligations shall be determined under the Insurance
Policies and applicable non-bankruptcy law as if the Chapter 11 Cases had not occurred; and (3) the automatic stay of
section 362(a) of the Bankruptcy Code and the injunctions set forth in Article VIII of the Plan, if and to the extent
applicable, shall be deemed lifted without further order of this Bankruptcy Court, solely to permit: (a) claimants with
valid workers’ compensation claims or direct action claims against an Insurer under applicable non-bankruptcy law
to proceed with their claims; (b) the Insurers to administer, handle, defend, settle, and/or pay, in the ordinary course
of business and without further order of this Bankruptcy Court, (i) workers’ compensation claims, (ii) claims where a
claimant asserts a direct action claim against any Insurer under applicable non-bankruptcy law, or an order has been
entered by this Bankruptcy Court granting a claimant relief from the automatic stay to proceed with its claim, and (iii)
all costs in relation to each of the foregoing; (c) the Insurers to draw against any or all of the collateral or security
provided by or on behalf of the Debtors (or the Reorganized Debtors, as applicable) at any time and to hold the
proceeds thereof as security for the obligations of the Debtors (and the Reorganized Debtors, as applicable) and/or
apply such proceeds to the obligations of the Debtors (and the Reorganized Debtors, as applicable) under the Insurance
Policies, in such order as the applicable Insurer may determine; and (d) the Insurers to cancel any Insurance Policy,
and take other actions relating to the Insurance Policies (including effectuating a setoff), to the extent permissible
under applicable non-bankruptcy law, and in accordance with the terms of the Insurance Policies.

H.       Reservation of Rights.

          Nothing contained in the Plan or the Plan Supplement, shall constitute an admission by the Debtors that any
such contract or lease is in fact an Executory Contract or Unexpired Lease or that any of the Reorganized Debtors
have any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
thirty (30) days following entry of a Final Order resolving such dispute to alter its treatment of such contract or lease
under the Plan.

I.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

J.       Contracts and Leases Entered Into After the Petition Date.

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors liable thereunder in the ordinary course of their business. Accordingly, such contracts and leases (including
any assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the
Confirmation Order.

                                              ARTICLE VI.
                                  PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan or Confirmation Order (and except with respect to the distribution of
the Liquidating Trust Assets), on the Effective Date (or if a Claim is not an Allowed Claim on the Effective Date, on
the date that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter), each holder of
                                                           43
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 48 of 66



an Allowed Claim (as applicable) shall receive the full amount of the distributions that the Plan provides for Allowed
Claims (as applicable) in the applicable Class. In the event that any payment or act under the Plan is required to be
made or performed on a date that is not a Business Day, then the making of such payment or the performance of such
act may be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
required date. If and to the extent that there are Disputed Claims, distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in Article VII hereof. Except as otherwise provided in the
Plan, holders of Claims shall not be entitled to interest, dividends, or accruals on the distributions provided for in the
Plan, regardless of whether such distributions are delivered on or at any time after the Effective Date.

B.       Disbursing Agent.

         Other than with respect to distribution of the Liquidating Trust Assets, all distributions under the Plan shall
be made by the Disbursing Agent on the Effective Date. The Disbursing Agent shall not be required to give any bond
or surety or other security for the performance of its duties unless otherwise ordered by the Bankruptcy Court.
Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and expenses of procuring any
such bond or surety shall be borne by the Reorganized Debtors.

C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

         2.   Expenses Incurred On or After the Effective Date.

          Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing Agent
shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions of Liquidating Trust Assets.

         All distributions of Liquidating Trust Recovery to Holders of Allowed Class 5(b) Claims entitled to recovery
from the Liquidating Trust or the Reorganized Debtors (with respect to the Cash Option), as applicable, shall be made
by the Liquidating Trustee or the Reorganized Debtors, as applicable, pursuant to the terms of this Plan and governed
the Liquidating Trust Agreement.

E.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record Holders listed on the Claims
Register as of the close of business on the Distribution Record Date.

         2.   Delivery of Distributions in General.

         Except as otherwise provided herein, the Disbursing Agent shall make distributions to Holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such Holder
as indicated on the Debtors’ records as of the date of any such distribution; provided, however, that the manner of
such distributions shall be determined at the discretion of the Reorganized Debtors; provided, further, that the address
                                                           44
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 49 of 66



for each Holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that
Holder. The Disbursing Agent shall not be required to give any bond, surety, or other Security for the performance
of its duties unless otherwise ordered by the Bankruptcy Court.

          Notwithstanding any provision of this Plan to the contrary, any distributions to a Holder of an Allowed
Unsecured Notes Claim shall be made to or at the direction of the Trustee which shall act as Disbursing Agent (or
direct the Disbursing Agent) for distributions to the Holders of Allowed Unsecured Notes Claims, in accordance with
this Plan and the Unsecured Notes Indenture. The Trustee shall not incur any liability whatsoever on account of any
distributions under the Plan except for gross negligence or willful misconduct. Notwithstanding anything to the
contrary herein, such distributions shall be subject in all respects to any rights of the Trustee to assert a charging lien
against such distributions. The Trustee may transfer or direct the transfer of such distributions directly through the
facilities of DTC (whether by means of book-entry exchange, free delivery, or otherwise) and will be entitled to
recognize and deal for all purposes under the Plan with the respective Holders of Unsecured Notes Claims to the extent
consistent with the customary practices of DTC; provided, that, for the avoidance of doubt, any charging lien asserted
by the Trustee shall attach to the property to be distributed in the same manner as if such distributions were made
through the Trustee. All distributions to be made to Holders of Allowed Unsecured Notes Claims shall be eligible to
be distributed through the facilities of DTC and as provided for under the Unsecured Notes Indenture.

         3.   De Minimis Distributions; Minimum Distributions.

          No fractional shares of New Equity shall be distributed and no Cash shall be distributed in lieu of such
fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed Interest
(as applicable) would otherwise result in the issuance of a number of shares of New Equity that is not a whole number,
the actual distribution of shares of New Equity shall be rounded as follows: (a) fractions of one-half (½) or greater
shall be rounded to the next higher whole number and (b) fractions of less than one-half (½) shall be rounded to the
next lower whole number with no further payment therefore. The total number of authorized shares of New Equity to
be distributed to Holders of Allowed Claims shall be adjusted as necessary to account for the foregoing rounding.

          The Disbursing Agent shall not make any distributions to a Holder of an Allowed Claim or an Allowed
Interest on account of such Allowed Claim or Allowed Interest of New Equity or Cash where such distribution is
valued, in the reasonable discretion of the Disbursing Agent, at less than $100.00, and each Claim or Interest to which
this limitation applies shall be discharged pursuant to Article VIII of the Plan and its Holder shall be forever barred
pursuant to Article VIII of the Plan from asserting that Claim against or Interest in the Reorganized Debtors or their
property.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that either (a) a distribution to any Holder is returned as undeliverable or (b) the Holder of an
Allowed Claim or Allowed Interest does not respond to a request by the Debtors or the Disbursing Agent for
information necessary to facilitate a particular distribution, no distribution to such Holder shall be made unless and
until the Disbursing Agent has determined the then-current address of such Holder or received the necessary
information to facilitate a particular distribution, at which time such distribution shall be made to such Holder without
interest, dividends, or other accruals of any kind; provided that such distributions shall be deemed unclaimed property
under section 347(b) of the Bankruptcy Code on the date that is six months after the later of (x) the Effective Date and
(y) the date of the distribution. After such date, all unclaimed property or interests in property shall revert to the
Reorganized Debtors automatically and without need for a further order by the Bankruptcy Court (notwithstanding
any applicable local, state, federal, or foreign escheat, abandoned, or unclaimed property laws to the contrary), and
the Claim or Interest of any Holder to such property or interest in property shall be discharged and forever barred.

F.       Manner of Payment.

         At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check or
wire transfer or as otherwise required or provided in applicable agreements.



                                                            45
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 50 of 66



G.       Compliance with Tax Requirements and Certain Other Tax Matters.

         In connection with the Plan, to the extent applicable, the Debtors, Reorganized Debtors, the Liquidating
Trust, Disbursing Agent and any applicable withholding agent shall comply with all tax withholding and reporting
requirements imposed on them by any Governmental Unit, and all distributions made pursuant to the Plan shall be
subject to such withholding and reporting requirements. Notwithstanding any provision in the Plan to the contrary,
such parties shall (x) be authorized to take all actions necessary or appropriate to comply with such withholding and
reporting requirements, including liquidating a portion of the distribution to be made under the Plan to generate
sufficient funds to pay applicable withholding taxes, withholding distributions pending receipt of information
necessary to facilitate such distributions, or establishing any other mechanisms they believe are reasonable and
appropriate and (y) shall reasonably cooperate with the relevant recipients to minimize any such withholding to the
extent permitted by applicable Law. The Debtors, Reorganized Debtors, and Liquidating Trust reserve the right to
allocate all distributions made under the Plan in compliance with all applicable wage garnishments, alimony, child
support, and other spousal awards, Liens, and encumbrances.

H.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims (as
determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of
the Claims, to any portion of such Claims for accrued but unpaid interest.

I.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the Plan, the DIP/Cash Collateral Order, or the Confirmation
Order, or required by applicable bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid
on any prepetition Claims against the Debtors, and no Holder of a prepetition Claim against the Debtors shall be
entitled to interest accruing on or after the Petition Date on any such prepetition Claim. Additionally, and without
limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim with respect to the period from the
Effective Date to the date a final distribution is made on account of such Disputed Claim, if and when such Disputed
Claim becomes an Allowed Claim.

J.       Foreign Currency Exchange Rate.

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in The Wall Street Journal (National Edition), on the Effective
Date.

K.       Setoffs and Recoupment.

          Except as expressly provided in this Plan, each Reorganized Debtor may, pursuant to section 553 of the
Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the Holder of such
Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant Reorganized
Debtor(s) and Holder of Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or another court of
competent jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the allowance of any
Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any and all claims,
rights, and Causes of Action that such Reorganized Debtor or its successor may possess against the applicable Holder.
In no event shall any Holder of Claims against, or Interests in, the Debtors be entitled to recoup any such Claim or
Interest against any claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless
such Holder actually has performed such recoupment and provided notice thereof in writing to the Debtors in
accordance with Article XII.H of the Plan on or before the Effective Date, notwithstanding any indication in any Proof
of Claim or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.



                                                          46
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 51 of 66



L.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claim objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a Holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the Holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such Holder to timely repay or return such distribution shall result
in the Holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the 14-day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ Insurance Policies until the Holder of such Allowed Claim has exhausted all remedies with respect
to such Insurance Policy. To the extent that one or more of the Debtors’ Insurers agrees to pay in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction or otherwise settled), then immediately
upon such Insurers’ agreement, the applicable portion of such Claim may be expunged without a Claim objection
having to be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

          Except as otherwise provided in the Plan, payment distributions to Holders of Allowed Claims covered by
Insurance Policies shall be in accordance with the provisions of any applicable Insurance Policy. Nothing contained
in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity may hold
against any other Entity, including Insurers under any policies of Insurance Policies, nor shall anything contained
herein constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by such
Insurers.

                               ARTICLE VII.
 PROCEDURES FOR RESOLVING CONTINGENT, AND UNLIQUIDATED CLAIMS OR INTERESTS


A.       Allowance of Claims.

         After the Effective Date and subject to the terms of this Plan, each of the Reorganized Debtors (and the
Liquidating Trustee on their behalf), shall have and retain any and all rights and defenses such Debtor had with respect
to any Claim or Interest immediately prior to the Effective Date. The Debtors may affirmatively determine to deem
Unimpaired Claims Allowed to the same extent such Claims would be allowed under applicable non-bankruptcy law.

B.       Claims Administration Responsibilities.

          Except with respect to General Unsecured Claims as otherwise specifically provided in the Plan, after the
Effective Date, the Reorganized Debtors shall have the sole authority: (1) to File, withdraw, or litigate to judgment,
objections to Claims or Interests; (2) to settle or compromise any Disputed Claim without any further notice to or
action, order, or approval by the Bankruptcy Court; and (3) to administer and adjust the Claims Register to reflect any
such settlements or compromises without any further notice to or action, order, or approval by the Bankruptcy Court;
provided, that the Liquidating Trustee shall have the sole authority: (i) to File, withdraw, or litigate to judgment,
objections to General Unsecured Claims; (ii) to settle or compromise any Disputed General Unsecured Claim without
any further notice to or action, order, or approval by the Bankruptcy Court; and (3) to administer and adjust the Claims
                                                           47
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 52 of 66



Register to reflect any such settlements or compromises without any further notice to or action, order, or approval by
the Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and after the Effective
Date, each Reorganized Debtor (and the Liquidating Trustee on their behalf with respect to General Unsecured Claims)
shall have and retain any and all rights and defenses such Debtor had immediately prior to the Effective Date with
respect to any Disputed Claim or Interest.

C.       Estimation of Claims.

         Before, on, or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, may (but are
not required to) at any time request that the Bankruptcy Court estimate any Claim pursuant to applicable law,
including, without limitation, pursuant to section 502(c) of the Bankruptcy Code for any reason (any such motion, an
“Estimation Motion”), regardless of whether any party previously has objected to such Claim or whether the
Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C.
§§ 157 and 1334 to estimate any such Claim, including during the litigation of any objection to any Claim or during
the pendency of any appeal relating to such objection. Notwithstanding the foregoing, any Estimation Motions as to
a General Unsecured Claim (any such motion, a “GUC Estimation Motion”) shall only be filed with the mutual consent
of the Debtors or Reorganized Debtors, as applicable, and the Liquidating Trustee; provided, that in the event the
Debtors or Reorganized Debtors, as applicable, believe the Liquidating Trustee is unreasonably withholding consent
with regard to the Filing of such GUC Estimation Motion, the Debtors or Reorganized Debtors, as applicable, shall
request that the Honorable David R. Jones make a determination as to whether it is appropriate for the Debtors or
Reorganized Debtors, as applicable, to File such Estimation Motion; provided, further, that, in the event the Debtors
or Reorganized Debtors, as applicable, and the Liquidating Trustee are unable to reach a consensual resolution
regarding the Filing of such GUC Estimation Motion following an applicable determination by the Honorable David
R. Jones, the Debtors or Reorganized Debtors, as applicable, may File a motion in the Bankruptcy Court requesting
the authority to File such GUC Estimation Motion as to the applicable General Unsecured Claims. Notwithstanding
any provision to the contrary in the Plan, a Claim that has been expunged from the Claims Register, but that either is
subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless
otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any Disputed,
contingent, or unliquidated Claim, such estimated amount shall constitute a maximum limitation on such Claim for
all purposes under the Plan (including for purposes of distributions and discharge) and may be used as evidence in
any supplemental proceedings, and the Debtors or Reorganized Debtors may elect to pursue any supplemental
proceedings to object to any ultimate distribution on such Claim, provided it is not a General Unsecured Claim.
Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any Holder of a Claim that has been
estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be entitled to seek reconsideration of such
estimation unless such Holder has Filed a motion requesting the right to seek such reconsideration on or before seven
(7) days after the date on which such Claim is estimated. Each of the foregoing Claims and objection, estimation, and
resolution procedures are cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

D.       Adjustment to Claims or Interests without Objection.

          Any Claim or Interest that has been paid, satisfied, amended, superseded, cancelled, or otherwise expunged
(including pursuant to the Plan) may be adjusted or expunged on the Claims Register at the direction of the
Reorganized Debtors or the Liquidating Trustee, as applicable, without the Reorganized Debtors or the Liquidating
Trustee having to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to
such Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.
Additionally, any Claim or Interest that is duplicative or redundant with another Claim or Interest against the same
Debtor may be adjusted or expunged on the Claims Register at the direction of the Reorganized Debtors or the
Liquidating Trustee, as applicable, without the Reorganized Debtors or the Liquidating Trustee, as applicable, having
to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to such Claim or
Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.




                                                          48
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 53 of 66



E.       Time to File Objections to Claims.

         Any objections to Claims shall be Filed on or before the later of (a) one-hundred-eighty (180) days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by the Bankruptcy Court upon
motion of the Liquidating Trustee for an extension of time for objecting to such claims, made before the objection
period has passed.

F.       Amendments to Proofs of Claim.

         A Proof of Claim against any Debtor may be amended before the Effective Date only as agreed upon by the
Debtors and the Holder of such Claim or Interest or as otherwise permitted by the Bankruptcy Court, the Bankruptcy
Rules, or applicable nonbankruptcy law. On or after the Effective Date, except as provided in the Plan or the
Confirmation Order, a Proof of Claim may not be Filed or amended without the prior authorization of the Bankruptcy
Court or the Reorganized Debtors, and any such new or amended Proof of Claim Filed shall be deemed disallowed in
full and expunged without any further action, order, or approval of the Bankruptcy Court absent prior Bankruptcy
Court approval or agreement by the Debtors or Reorganized Debtors, as applicable; provided that the foregoing shall
not apply to Administrative Claims other than 503(b)(9) Claims.

G.       Disallowance of Claims or Interests.

         Except as otherwise provided herein, by prior Order of the Bankruptcy Court, or as agreed to by the
Reorganized Debtors, any and all Proofs of Claim Filed after the Claims Bar Date shall be deemed disallowed
and expunged as of the Effective Date without any further notice to or action, order, or approval of the
Bankruptcy Court, and Holders of such Claims may not receive any distributions on account of such Claims,
unless such late Proof of Claim has been deemed timely Filed by a Final Order.

                                       ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

           Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan or in any contract, instrument, or other agreement or document created pursuant to the Plan, the distributions,
rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims (including any Intercompany Claims resolved or compromised after the Effective
Date by the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any interest
accrued on Claims or Interests from and after the Petition Date, whether known or unknown, against, liabilities of,
Liens on, obligations of, rights against, and Interests in, the Debtors or any of their assets or properties, regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of such Claims and
Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed by employees of
the Debtors before the Effective Date and that arise from a termination of employment, any contingent or
non-contingent liability on account of representations or warranties issued on or before the Effective Date, and all
debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not:
(1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy
Code; (2) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of the
Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. Any default or “event of
default” by the Debtors or Affiliates with respect to any Claim or Interest that existed immediately before or on account
of the filing of the Chapter 11 Cases shall be deemed cured (and no longer continuing) as of the Effective Date. The
Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests subject to the
Effective Date occurring.




                                                            49
           Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 54 of 66



B.          Release of Liens.

          Except as otherwise provided in the Exit ABL Facility Documents, the Exit Term Loan Facility
Documents, the Plan (including, without limitation, the satisfaction of the DIP ABL Facility Claims and the
Swap Claims in accordance with Article II.C and Article II.D, respectively), the Confirmation Order, or any
contract, instrument, release, or other agreement or document created pursuant to the Plan, on the Effective
Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case of a Secured
Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, except
for Other Secured Claims that the Debtors elect to reinstate in accordance with Article III.B.1 hereof, all
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall
be fully released and discharged, and all of the right, title, and interest of any Holder of such mortgages, deeds
of trust, Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their successors
and assigns. Any Holder of such Secured Claim (and the applicable agents for such Holder) shall be authorized
and directed, at the sole cost and expense of the Reorganized Debtors, to release any collateral or other property
of any Debtor (including any cash collateral and possessory collateral) held by such Holder (and the applicable
agents for such Holder), and to take such actions as may be reasonably requested by the Reorganized Debtors
to evidence the release of such Lien, including the execution, delivery, and filing or recording of such releases.
The presentation or filing of the Confirmation Order to or with any federal, state, provincial, or local agency
or department shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens.

C.          Releases by the Debtors.

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, on and after
the Effective Date, each Released Party is deemed released and discharged by the Debtors, the Reorganized
Debtors, and their Estates from any and all Causes of Action, including any derivative claims asserted on behalf
of the Debtors, that the Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to
assert in their own right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest, or that any Holder of any Claim or Interest could have asserted on behalf of the Debtors, based on or
relating to, or in any manner arising from, in whole or in part:
     (a)    the Debtors, the Debtors’ restructuring efforts, intercompany transactions, the formulation,
            preparation, dissemination, negotiation, or filing of the Restructuring Support Agreement;

     (b) any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including providing any legal opinion requested by any Entity regarding any transaction, contract,
         instrument, document, or other agreement contemplated by the Plan or the reliance by any Released
         Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
         connection with the Restructuring Support Agreement, the Disclosure Statement, or the Plan;

     (c)    the Chapter 11 Cases, the Disclosure Statement, the Plan, the filing of the Chapter 11 Cases, the pursuit
            of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
            including the issuance or distribution of Securities pursuant to the Plan, or the distribution of property
            under the Plan or any other related agreement;

     (d) the formulation, preparation, dissemination, negotiation, or filing of the Exit ABL Facility, the Exit
         ABL Documents, the Exit Term Loan Facility, the Exit Term Loan Facility Documents, the DIP ABL
         Facility, the DIP Credit Agreement Documents, the ABL Documents, or the Term Loan Documents;
         or

     (e)    any other act or omission, transaction, agreement, event, or other occurrence taking place on or before
            the Effective Date.
         Notwithstanding anything to the contrary in the foregoing, the releases set forth in this Article VIII.C
(i) do not release any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring
Transaction, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
                                                           50
           Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 55 of 66



executed to implement the Plan and (ii) do not release any claims related to any act or omission that constitutes
fraud, willful misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably
rely upon the advice of counsel with respect to their duties and responsibilities pursuant to the Plan.


D.          Releases by Holders of Claims and Interests.

        As of the Effective Date, each Releasing Party is deemed to have released and discharged each Debtor,
Reorganized Debtor, and Released Party from any and all Causes of Action, including any derivative claims
asserted on behalf of the Debtors, that such Entity would have been legally entitled to assert (whether
individually or collectively), based on or relating to, or in any manner arising from, in whole or in part:
     (a)    the Debtors, the Debtors’ restructuring efforts, intercompany transactions, the formulation,
            preparation, dissemination, negotiation, or filing of the Restructuring Support Agreement;

     (b) any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including providing any legal opinion requested by any Entity regarding any transaction, contract,
         instrument, document, or other agreement contemplated by the Plan or the reliance by any Released
         Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
         connection with the Restructuring Support Agreement, the Disclosure Statement, or the Plan;

     (c)    the Chapter 11 Cases, the Disclosure Statement, the Plan, the filing of the Chapter 11 Cases, the pursuit
            of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
            including the issuance or distribution of Securities pursuant to the Plan, or the distribution of property
            under the Plan or any other related agreement;

      (d) the formulation, preparation, dissemination, negotiation, or filing of the Exit ABL Facility, the Exit
          ABL Documents, the Exit Term Loan Facility, the Exit Term Loan Facility Documents, the DIP ABL
          Facility, the DIP Credit Agreement Documents, the ABL Documents, or the Term Loan Documents;
          or

     (e)    any other act or omission, transaction, agreement, event, or other occurrence taking place on or before
            the Effective Date.
         Notwithstanding anything to the contrary in the foregoing, the releases set forth in this Article VIII.D
(i) do not release any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring
Transaction, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan and (ii) do not release any claims related to any act or omission that constitutes
fraud, willful misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably
rely upon the advice of counsel with respect to their duties and responsibilities pursuant to the Plan.
E.          Exculpation.

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is hereby released and exculpated from any Cause of Action for any claim related to
any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, filing, or termination of the Restructuring Support Agreement and
related prepetition transactions, the Disclosure Statement, the Plan, or any Restructuring Transaction,
contract, instrument, release or other agreement or document (including providing any legal opinion requested
by any Entity regarding any transaction, contract, instrument, document, or other agreement contemplated by
the Plan (including the Exit ABL Facility, the Exit ABL Documents, the Exit Term Loan Facility, the Exit Term
Loan Facility Documents, the DIP ABL Facility, the DIP Credit Agreement Documents, the ABL Documents,
or the Term Loan Documents) or the reliance by any Exculpated Party on the Plan or the Confirmation Order
in lieu of such legal opinion) created or entered into in connection with the Disclosure Statement or the Plan,
the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance of Securities pursuant to the Plan, or
the distribution of property under the Plan or any other related agreement, except for claims related to any act
                                                        51
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 56 of 66



or omission that constitutes actual fraud, willful misconduct, or gross negligence, but in all respects such
Entities shall be entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Plan. The Exculpated Parties have, and upon completion of the Plan shall be
deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of, and distribution of, consideration pursuant to the Plan and, therefore, are not, and on account
of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or regulation
governing the solicitation of acceptances or rejections of the Plan or such distributions made pursuant to the
Plan.

F.       Injunction.

         Except as otherwise expressly provided in the Plan or for obligations incurred, issued, or required to
be paid pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or may hold claims
or interests that have been released pursuant to the Plan, shall be discharged pursuant to the Plan, or are
subject to exculpation pursuant to the Plan, are permanently enjoined, from and after the Effective Date, from
taking any of the following actions against, as applicable, the Debtors, the Reorganized Debtors, or the Released
Parties: (i) commencing or continuing in any manner any action or other proceeding of any kind on account
of or in connection with or with respect to any such claims or interests; (ii) enforcing, attaching, collecting, or
recovering by any manner or means any judgment, award, decree, or order against such Entities on account of
or in connection with or with respect to any such claims or interests; (iii) creating, perfecting, or enforcing any
lien or encumbrance of any kind against such Entities or the property or the estates of such Entities on account
of or in connection with or with respect to any such claims or interests; (iv) asserting any right of setoff,
subrogation, or recoupment of any kind against any obligation due from such Entities or against the property
of such Entities on account of or in connection with or with respect to any such claims or interests unless such
Entity has timely asserted such setoff right in a document Filed with the Bankruptcy Court explicitly preserving
such setoff, and notwithstanding an indication of a claim or interest or otherwise that such Entity asserts, has,
or intends to preserve any right of setoff pursuant to applicable law or otherwise; and (v) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such claims or interests released or settled pursuant to the Plan.

G.       Preservation of Setoff Rights

          Notwithstanding anything to the contrary in this Plan, nothing herein shall modify the rights, if any, of any
Holder of Claims or any current or former party to an Executory Contract or Unexpired Lease, to assert any right of
setoff or recoupment that such party may have under applicable bankruptcy or non-bankruptcy law, including, but not
limited to, (i) the ability, if any, of such parties to setoff or recoup a security deposit held pursuant to the terms of their
Unexpired Lease(s) with the Debtors or any successors to the Debtors, under the Plan; (ii) assertion of rights of setoff
or recoupment, if any, in connection with Claims reconciliation; or (iii) assertion of setoff or recoupment as a defense,
if any, to any claim or action by the Debtors, the Reorganized Debtors, or any successors of the Debtors.

H.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.




                                                              52
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 57 of 66



I.       Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

J.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

K.       Substantive Consolidation.

         In connection with Confirmation of the Plan, the Debtors reserve the right to assert (subject to the consent of
the Required Consenting Term Loan Lenders) that the Plan substantively consolidates the Estates of the United States
Debtors into a single consolidated estate for all purposes associated with Confirmation and Consummation of the Plan.

L.       Reservation of Rights by the SEC.

          Notwithstanding any provision herein to the contrary, no provision of this Plan or the Confirmation Order
(i) releases any non-Debtor Person or Entity (including any non-Debtor Released Party) from any Claim or Cause of
Action of the SEC or (ii) enjoins, limits, impairs, or delays the SEC from commencing or continuing any Claims,
Causes of Action, proceedings, or investigations against any non-Debtor Person or Entity (including any non-Debtor
Released Party) in any forum.
                                                   ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

        It shall be a condition to the Effective Date of the Plan that the following conditions shall have been satisfied
or waived pursuant to the provisions of Article IX.B hereof:

         1.  the Confirmation Order, which shall be in form and substance reasonably acceptable to the ABL
Agent, DIP ABL Agent, and the Required Consenting Term Loan Lenders, shall have been entered and shall not have
been stayed;

        2.     all transactions and other documents to effectuate the Restructuring Transactions shall contain terms
and conditions consistent in all material respects with the Restructuring Support Agreement;

         3.    the Restructuring Support Agreement shall remain in full force and effect and shall not have been
terminated, and the parties thereto shall be in compliance therewith;

         4.    the orders approving the Disclosure Statement and confirming the Plan shall have been entered,
consistent with the Restructuring Support Agreement, and such orders shall not have been vacated, stayed, or
modified;

         5.     the Bankruptcy Court shall have entered the Final DIP/Cash Collateral Order and the Final DIP/Cash
Collateral Order shall not have been vacated, stayed, revised, modified, or amended in any manner adverse to the
Term Loan Lenders without the prior written consent of the Required Consenting Term Loan Lenders and the Required
Lenders (as defined in the DIP Credit Agreement);

                                                           53
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 58 of 66



        6.      all fees, expenses, and other amounts payable pursuant to the DIP/Cash Collateral Orders shall have
been paid in full;

        7.      the DIP ABL Facility Claims, Swap Claims, and ABL Facility Claims shall have been Paid in Full or
otherwise satisfied in accordance with Article II.C, Article II.D, and Article III.B.3 of the Plan (as applicable);

         8.     the Exit Facilities and any related documents shall have been executed, delivered, and be in full force
and effect (with all conditions precedent thereto having been satisfied or waived);

         9.     the New Equity and New Warrants shall have been issued;

         10.    the Professional Fee Escrow Account shall have been funded;

         11. all accrued and unpaid fees and expenses of the Consenting Term Loan Lenders in connection with
the Restructuring Transactions (including the Consenting Term Loan Lender Fees and Expenses) shall have been paid
in accordance with the terms and conditions set forth in the Restructuring Support Agreement and the Final DIP/Cash
Collateral Order;

         12. there shall not be in effect any (a) order, opinion, ruling, or other decision entered by any court or
other governmental unit or (b) U.S. or other applicable law staying, restraining, enjoining, prohibiting, or otherwise
making illegal the implementation of any of the transactions contemplated by the Plan;

         13. the Debtors shall have obtained all governmental and regulatory approvals, consents, authorizations,
rulings, or other documents that are legally required for the consummation of the Restructuring Transactions shall
have been obtained, not be subject to unfulfilled conditions, and be in full force and effect, and all applicable waiting
periods under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, if any, shall have expired;

         14. each document or agreement constituting the Definitive Documents shall have been executed and/or
effectuated and shall be in form and substance consistent with the Restructuring Support Agreement, including,
without limitation, any consent rights included therein;

         15. the final version of the Plan and all of the schedules, documents, and exhibits contained therein, and
all other schedules, documents, supplements, and exhibits to the Plan, shall be consistent with the Restructuring
Support Agreement;

         16. the Restructuring Transactions to be implemented on the Effective Date shall be consistent with this
Plan and the Restructuring Support Agreement; and

        17. such other conditions to the Effective Date as are customary and otherwise reasonably acceptable to
the Debtors and the Required Consenting Term Loan Lenders.

B.       Waiver of Conditions.

         The conditions to Confirmation and Consummation set forth in this Article IX may be waived by the Debtors
only with the prior written consent of the Required Consenting Term Loan Lenders, the DIP ABL Agent, and the ABL
Agent (email shall suffice), without notice, leave, or order of the Bankruptcy Court or any formal action other than
proceedings to confirm or consummate the Plan.

C.       Effect of Failure of Conditions.

          If Consummation does not occur, the Plan shall be null and void in all respects and nothing contained in the
Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by the Debtors, Claims, or
Interests; (2) prejudice in any manner the rights of the Debtors, any Holders of Claims or Interests, or any other Entity;
or (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims or
Interests, or any other Entity.
                                                           54
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 59 of 66



                                        ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

          Except as otherwise specifically provided in the Plan and to the extent permitted by the Restructuring Support
Agreement, the Debtors reserve the right to modify the Plan, whether such modification is material or immaterial, and
seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan.
Subject to those restrictions on modifications set forth in the Plan and the Restructuring Support Agreement and the
requirements of section 1127 of the Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure, and,
to the extent applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves
its respective rights to revoke or withdraw, or, to alter, amend, or modify the Plan with respect to such Debtor, one or
more times, after Confirmation, and, to the extent necessary may initiate proceedings in the Bankruptcy Court to so
alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the
Disclosure Statement, or the Confirmation Order, in such matters as may be necessary to carry out the purposes and
intent of the Plan. For the avoidance of doubt, the Debtors, with the consent of the Creditors’ Committee and the
Required Consenting Term Loan Lenders, reserve the right to amend the Plan after the Confirmation Hearing,
including with respect to the Liquidating Trust and the Liquidating Trust Equity Recovery; provided, that any
modifications after the Confirmation Hearing shall not adversely impact any Holder of an Allowed Claim.

B.       Effect of Confirmation on Modifications.

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

          To the extent permitted by the Restructuring Support Agreement, the Debtors reserve the right to revoke or
withdraw the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke
or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to an amount
certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Interests; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                                ARTICLE XI.
                                         RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

          1.    allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
status, or amount of any Claim or Interest, including the resolution of any request for payment of any Administrative
Claim and the resolution of any and all objections to the secured or unsecured status, priority, amount, or allowance
of Claims or Interests;

         2.    decide and resolve all matters related to the granting and denying, in whole or in part, any applications
for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the Bankruptcy
Code or the Plan;


                                                           55
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 60 of 66



         3.      resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Cure pursuant to section
365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or Unexpired
Lease that is assumed; (c) the Reorganized Debtors amending, modifying, or supplementing, after the Effective Date,
pursuant to Article V hereof, any Executory Contracts or Unexpired Leases to the list of Executory Contracts and
Unexpired Leases to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or lease is
or was executory or expired;

        4.    ensure that distributions to Holders of Allowed Claims and Allowed Interests (as applicable) are
accomplished pursuant to the provisions of the Plan;

         5.    adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective Date;

         6.    adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

         7.     enter and implement such orders as may be necessary to execute, implement, or consummate the
provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or documents created
in connection with the Plan or the Disclosure Statement;

        8.   enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
Bankruptcy Code;

          9. resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in connection with
the Plan;

          10. issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
restrain interference by any Entity with Consummation or enforcement of the Plan;

         11. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders as may be
necessary or appropriate to implement such releases, injunctions, exculpations, and other provisions;

          12. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
return of distributions and the recovery of additional amounts owed by the Holder of a Claim or Interest for amounts
not timely repaid pursuant to Article VI.L hereof;

         13. enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
stayed, reversed, revoked, or vacated;

        14. determine any other matters that may arise in connection with or related to the Plan, the
Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or
document created in connection with the Plan, the Plan Supplement, or the Disclosure Statement;

         15.   enter an order concluding or closing the Chapter 11 Cases;

         16.   adjudicate any and all disputes arising from or relating to distributions under the Plan;

         17. consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         18. determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507
of the Bankruptcy Code;
                                                          56
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 61 of 66



        19. hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan or the Confirmation Order, including disputes arising under agreements, documents, or
instruments executed in connection with the Plan;

         20. hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
505, and 1146 of the Bankruptcy Code;

         21. hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions and releases granted in the Plan, including under Article VIII hereof, regardless
of whether such termination occurred prior to or after the Effective Date;

         22.    enforce all orders previously entered by the Bankruptcy Court; and

         23.    hear any other matter not inconsistent with the Bankruptcy Code.

          As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the Exit ABL Facility
and the Exit Term Loan Facility shall be governed by the jurisdictional provisions therein and the Bankruptcy Court
shall not retain any jurisdiction with respect thereto.

                                                ARTICLE XII.
                                         MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the Plan
Supplement) shall be immediately effective and enforceable and deemed binding upon the Debtors, the Reorganized
Debtors, and any and all Holders of Claims or Interests (irrespective of whether such Claims or Interests are deemed
to have accepted the Plan), all Entities that are parties to or are subject to the settlements, compromises, releases,
discharges, and injunctions described in the Plan, each Entity acquiring property under the Plan, and any and all
non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtors.

B.       Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the Restructuring Support
Agreement, the Debtors may File with the Bankruptcy Court such agreements and other documents as may be
necessary to effectuate and further evidence the terms and conditions of the Plan and the Restructuring Support
Agreement. The Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver
any agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of the Plan.

C.       Payment of Statutory Fees.

         All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Disbursing Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof) until
the Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Effective Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and members
thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases. The
Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of or
advisors to any statutory committees after the Effective Date; provided, that, notwithstanding the foregoing, the
                                                            57
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 62 of 66



Debtors or Reorganized Debtors, as applicable, shall pay any Allowed fees and expenses incurred by the Creditors’
Committee’s Professionals in preparing and prosecuting their final application for approval of Professional Fee Claims
in accordance with the procedures set forth in Article II.B.1 as soon as reasonably practicable after such fees and
expenses are Allowed.

E.       Trustee Fees.

          On the Effective Date, and without any further notice to or action, order or approval of the Bankruptcy Court,
the Debtors or the Reorganized Debtors, as applicable, shall pay the Trustee Fees in Cash; provided that the Trustee
shall provide the Debtors or the Reorganized Debtors, as applicable, the Ad Hoc Group, and the Creditors Committee
(each a “Trustee Fee Notice Party,” and collectively, the “Trustee Fee Notice Parties”) with an estimate of the Trustee
Fees at least ten (10) Business Days before the anticipated Effective Date and shall provide the Trustee Fee Notice
Parties with final invoices for such Trustee Fees (subject to redaction to preserve attorney-client privilege) on two (2)
business days prior to the Effective Date. If a Trustee Fee Notice Party disputes any such invoices, (i) the Debtors or
Reorganized Debtors shall pay the undisputed portion of such invoices on the Effective Date, (ii) the applicable
Trustee Fee Notice Party shall notify the Trustee of any disputed portion of the invoices, and (iii) the Debtors or
Reorganized Debtors shall escrow the amount of any disputed portion of such invoices pending resolution by the
Bankruptcy Court or by mediation. For the avoidance of doubt, nothing herein affects the rights of the Trustee to
exercise its charging lien pursuant to the terms of the Unsecured Notes Indenture, and the Liquidating Trust shall assist
the Trustee in effectuating such charging lien if exercised. To the extent the Trustee provides services or incurs costs
or expenses, including professional fees, related to or in connection with the Plan, the Confirmation Order, the
Liquidating Trust or the Unsecured Notes Indenture on and after the Effective Date, the Trustee shall be entitled to
receive from the Reorganized Debtors, without further Bankruptcy Court approval, reasonable compensation for such
services and reimbursement of reasonable out-of-pocket expenses incurred in connection with such services. The
payment of such compensation and expenses will be made promptly or as otherwise agreed to by the Trustee and the
Reorganized Debtors. For the avoidance of doubt, the Debtors’ rejection of the Trustee’s fee schedule pursuant to
Article V of the Plan shall in no way modify or limit the Trustee’s rights to payment of the Trustee Fees hereunder.

F.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests prior to the
Effective Date.

G.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

H.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or




                                                            58
      Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 63 of 66



made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

        1.   if to the Debtors, to:

                 Tailored Brands, Inc.
                 6100 Stevenson Boulevard
                 Fremont, California 94538
                 Attention: A. Alexander Rhodes, General Counsel
                 E-mail address: sandy.rhodes@tailoredbrands.com

                 with copies to:

                 Kirkland & Ellis LLP
                 601 Lexington Avenue
                 New York, New York 10022
                 Facsimile: (212) 446-4900
                 Attention: Joshua A. Sussberg, P.C., Christopher Marcus, P.C., and Aparna Yenamandra
                 E-mail addresses: joshua.sussberg@kirkland.com, cmarcus@kirkland.com, and
                 aparna.yenamandra@kirkland.com

        2.   if to the Creditors’ Committee, to:

                 Pachulski Stang Ziehl & Jones LLP
                 10100 Santa Monica Blvd., 13th Floor
                 Los Angeles, CA 90067-4100
                 Attention: Jeffrey N. Pomerantz, Alan J. Kornfeld, Ira D. Kharasch, Elissa A. Wagner, and
                 Steven W. Golden
                 E-mail addresses: jpomerantz@pszjlaw.com, akornfeld@pszjlaw.com, ikharasch@pszjlaw.com,
                 ewagner@pszjlaw.com, and sgolden@pszjlaw.com

                 -and-

                 Norton Rose Fulbright US LLP
                 1301 McKinney, Suite 5100
                 Houston, TX 77010
                 Attention: William R. Greendyke, Jason L. Boland, Bob B. Bruner, and Julie G. Harrison
                 E-mail addresses: william.greendyke@nortonrosefulbright.com,
                 jason.boland@nortonrosefulbright.com, bob.bruner@nortonrosefulbright.com, and
                 julie.harrison@nortonrosefulbright.com

        3.   if to the Consenting Term Loan Lenders:

                 To each Consenting Term Loan Lender at the addresses or e-mail addresses set forth in the
                 Consenting Term Loan Lender’s signature page to the Restructuring Support Agreement (or to the
                 signature page to a joinder or transfer agreement in the case of any Consenting Term Loan Lender
                 that becomes a party thereto after the Restructuring Support Agreement effective date).

                 With copies to:
                 Gibson, Dunn & Crutcher LLP
                 200 Park Avenue
                 New York, New York 10166
                 Attention: Scott J. Greenberg, Matt J. Williams, Steven A. Domanowski, Keith R. Martorana, and
                 Jeremy D. Evans


                                                       59
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 64 of 66



                     Email      address:     sgreenberg@gibsondunn.com,       mjwilliams@gibsondunn.com,
                     sdomanowski@gibsondunn.com, kmartorana@gibsondunn.com, and jevans@gibsondunn.com

        After the Effective Date, the Debtors have authority to send a notice to Entities that to continue to receive
documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive documents pursuant
to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities receiving
documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

I.       Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

J.       Entire Agreement.

          Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the Plan Supplement) supersedes all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

K.       Exhibits.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at http://cases.primeclerk.com/TailoredBrands or the
Bankruptcy Court’s website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is
inconsistent with the terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or
non-document portion of the Plan shall control.

L.       Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, but only so as to be consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of
the terms and provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or
invalidated by such holding, alteration, or interpretation; provided that, any such holding, alteration or interpretation
shall be reasonably satisfactory to the Debtors, the ABL Agent, the DIP ABL Agent and the Required Consenting
Term Loan Lenders, as applicable, solely to the extent the provisions therein affect the legal and/or economic rights
of the ABL Agent and the DIP ABL Agent, as applicable. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not
be deleted or modified without the Debtors’ consent, provided, that any such deletion or modification must be
consistent with the Restructuring Support Agreement; and (3) nonseverable and mutually dependent.

M.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the Bankruptcy Code, the
Debtors and each of their respective Affiliates, agents, representatives, members, principals, shareholders, officers,
                                                           60
       Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 65 of 66



directors, managers, employees, advisors, and attorneys will be deemed to have participated in good faith and in
compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and sold under
the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized Debtors
will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of votes on
the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous
plan.

N.       Closing of Chapter 11 Cases.

          The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court
to close the Chapter 11 Cases.

O.       Waiver or Estoppel.

          Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument, including
the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority, secured or not
subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if such agreement
was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court prior to the
Confirmation Date.




                                                            61
    Case 20-33900 Document 1210 Filed in TXSB on 11/13/20 Page 66 of 66



Dated: November 13, 2020


                                     /s/ Holly Etlin
                                     Holly Etlin
                                     Chief Restructuring Officer of
                                     Tailored Brands, Inc.




                                    62
